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                           VOLUME II
 UNITED STATES DISTRICT COURT
 FOR THE DISTRICT OF COLUMBIA
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 UNITED STATES OF AMERICA

 vs.                               21-CR-140
 LARRY RENDALL BROCK,

                                  Defendant.

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       Transcript of a Bench Trial held on

 November 15, 2022, at the E. Barrett Prettyman U.S.
 Courthouse, 333 Constitution Avenue, N.W.,

 Washington, D.C., the HONORABLE JOHN D. BATES,

 Senior Judge, Presiding.
                         A P P E A R A N C E S

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1
2                    I N D E X       O F   T E S T I M O N Y

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4     Witnesses              Direct        Cross    Redirect      Recross
5     John Moore, cont'd       224         265        293              --

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1                       (Open Court, 9:37 a.m.)
2                 THE CLERK:    Your Honor, we have criminal action

3     21-140, United States of America versus Larry Brock and all

4     counsel are present.
5                 THE COURT:    All right, good morning to all counsel

6     and everyone else.      And let me ask an initial question.

7     Since things are moving a little faster than perhaps I had
8     anticipated, I will ask you, Mr. Burnham, whether you have

9     informed the Government of your potential witnesses if the
10    defense puts on a case.

11                MR. BURNHAM:    Your Honor, the only -- the only

12    witness we might call would be the defendant.          I don't
13    believe I have --

14                THE COURT:    As long as they're aware of that.

15                MR. BURNHAM:    I don't know if I explicitly informed
16    them of that, we didn't submit a witness list but that was

17    the implication I think from that.
18                THE COURT:    All right.    With that, are we ready to

19    resume with Special Agent Moore?

20                MS. AYERS-PEREZ:     Yes, your Honor.
21                THE COURT:    All right.    Special Agent Moore,

22    please.    All right.    I remind you you're still under oath.

23                THE WITNESS:    Yes, sir.
24

25                J O H N     M O O R E , called as a witness



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1     and being previously duly sworn, testifies as
2     follows:

3                 THE COURT:    Let's continue, Ms. Ayers-Perez.

4                 MS. AYERS-PEREZ:     Thank you, your Honor.
5     CONTINUED DIRECT EXAMINATION BY MS. AYERS-PEREZ:

6     Q      Good morning, Agent Moore.

7     A      Good morning, ma'am.
8     Q      I show we left off on Exhibit 903 last time.          So we can

9     pull up Government's Exhibit 904.
10                THE COURT:    Is there an objection?

11                MR. BURNHAM:    Yes, your Honor, the same basic

12    objection.    It refers to the Insurrection Act, Supreme Court,
13    to patriots from Athens, doesn't refer to January 6th,

14    Electoral College, certification, anything like that.

15                THE COURT:    All right.    And it's a communication
16    from November -- I'm sorry, December 4th.          Anything you want

17    to say, Ms. Ayers-Perez?
18                MS. AYERS-PEREZ:     A couple things, your Honor.

19    First, this is the first mention of IO war and if you

20    remember from Government's Exhibit 509, the defendant uses
21    the term IO war multiple times while he's on the Senate floor

22    on January 6th.     This is again about the election, the

23    Supreme Court stopping the steal, he attends the Stop the
24    Steal Rally on January 6th, and the "steal" of course is in

25    reference to the election from November which is the basis of



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1     the January 6th Capitol riot that the defendant was at, and
2     in further messages, you'll see more communication about

3     insurrection, and this is the first time we see mention of

4     the Insurrection Act so I do think this is relevant.             I do
5     not think it's more prejudicial than probative in this

6     instance, your Honor.

7                 THE COURT:    All right.    I think it is, in context
8     and the context being other Facebook messages, it is relevant

9     as being more -- making a fact in issue, the intent question,
10    addressing that and making it more probable than not that the

11    intent that the Government asserts was present with

12    Mr. Brock, and then when we get to a -- and therefore it's
13    admissible.    And then when we get to Rule 403 -- admissible

14    under 401 and 402.     When we get to Rule 403, again, in

15    context, I think the relevance is more than minimal, and the
16    prejudice, I understand the argument for prejudice.              It

17    doesn't seem to me that once the other Facebook
18    communications that I've admitted are in evidence that the

19    prejudice from this document is very significant and I find

20    that it, prejudice does not substantially outweigh the
21    relevance here, and that's especially true with a bench trial

22    and the ability of the judge to filter and limit any

23    potential prejudice.      So the objection is overruled and 904
24    is admitted.

25    Q      Agent Moore, can you tell us what we're looking at here



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1     with Government's 904?
2     A       Yes.    This is a Facebook -- excuse me, a reply on

3     Facebook to a post made by somebody named Jeff Ciaccio and

4     the reply was made on December 4th, 2020.
5     Q       And can you read to us what the reply was?

6     A       "No dude, you will not win the IO war, nor will I cede

7     that territory to you.      I have been trying to refrain but if
8     you are too stupid to see the fraud even with video evidence

9     you are not smart enough to truly understand the oath.           I
10    will reveal no more.      It is pointless.     Either SCOTUS stops

11    the steal or we must emulate the patriots from Athens in

12    1946.   Plans need to be made.      The Insurrection Act must be
13    used and those like you that swore to a higher oath will be

14    held accountable to a higher standard."

15    Q       And do you believe this post to be made by Mr. Brock?
16    A       I do.

17    Q       And why is that?
18    A       Because it comes from his Torch Flyer Facebook account.

19    Q       You mentioned yesterday, Agent Moore, that you have a

20    military background?
21    A       That's correct.

22    Q       Do you know what IO war means?

23    A       It means information operations.
24    Q       What is information operations?

25    A       Information operations is a broad term in concept,



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1     referring to the use of information to shape the battlefield
2     both using information to shape what enemy conventional

3     military units do as well as unconventional enemy forces as

4     well as the civilian populous where, in this case, the United
5     States would be fighting using a multitude of things from

6     information, shaping the news media, doing events that are

7     deemed to be friendly to the local populous, doing a
8     multitude of things to shape the information that your enemy

9     or the civilians take in with the intent of ultimately
10    influencing their actions.

11                MR. BURNHAM:    Your Honor, I have a partial

12    objection to that answer.       I don't think it was a bad
13    question, just ask what's the definition, but then -- because

14    he is a veteran, I acknowledge that, but then about the

15    remaining 75 percent of it I think got into speculation at
16    least as it applies to how it's used in this context, so I

17    move to strike everything after the basic definition of what
18    IO means.

19                THE COURT:    I'm going to limit what the testimony

20    was just by not considering part of it.         Also verged on being
21    expert testimony and of course Special Agent Moore has not

22    been qualified as an expert, but I will accept the general

23    contours of the explanation of what IO war is.
24    Q      Agent Moore, what is SCOTUS, if you know?

25    A      It's an acronym for Supreme Court of the United States.



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1     Q      Okay.   And are you familiar with what patriots from
2     Athens in 1946 means, just a general idea?

3     A      I am.

4     Q      And can you tell us what that is?
5     A      It was when a group of World War II veterans broke into

6     a National Guard armory in Athens, Tennessee, took weapons

7     and used them to fire on election authorities to seize ballot
8     boxes in what was perceived as an illegitimate election.

9     Q      If we can pull up Government's Exhibit 905.
10                THE COURT:    This is the same one, isn't it?

11                MS. AYERS-PEREZ:     Yes, this is.     There we go.

12                MR. BURNHAM:    Your Honor, same basic objection,
13    again, as I've been objecting to messages that don't refer to

14    anything surrounding the certification of the votes and, you

15    know, the prejudice here would be particularly if the
16    Government argues that it should be taken literally, you

17    know, the prejudice of them arguing this shows he was trying
18    to start a civil war.      To the extent that they are going to

19    take that position would be significant prejudice.

20                THE COURT:    All right.    I understand that, but of
21    course I can accept or reject the Government's argument if it

22    does choose to argue that.       Same ruling in essence,

23    particularly in context, particularly because the standard,
24    once we reach 403, the standard is whether in this instance,

25    the unfair prejudice, which is the term in Rule 403,



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1     substantially outweighs the probative value, and I find that
2     it does not.

3                 MS. AYERS-PEREZ:     Yes, your Honor.

4                 THE COURT:    Therefore, 905 is admitted.
5                 MS. AYERS-PEREZ:     Thank you.

6     Q       Agent Moore, what are we looking at here in

7     Government's 905?
8     A       Post made by Mr. Brock on Facebook from December 4th,

9     2020.
10    Q       Okay.   And are there a number of posts in this exhibit?

11    A       There are.

12    Q       Are they all from December 4, 2020?
13    A       Sorry, the first two are from December 4th and the last

14    three are from December 5th.

15    Q       Will you read these posts to us?
16    A       The first one says, "Trump won the election.         If

17    necessary I aim to misbehave."
18    Q       The second one?

19    A       "Prove me wrong.    The FBI is the equivalent of the KGB

20    for the Democratic party."
21    Q       Those are both from December 4th?

22    A       "Game is high drama.     I mean I am not sure if we can

23    break 100."
24    Q       And those first two posts, those were from

25    December 4th?



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1     A       That's correct.
2     Q       And what are the dates, what's the date of the last

3     three posts?

4     A       December 5th, 2020.
5     Q       Okay.   And if you could start with the fourth one.

6     A       The fourth one is, "#resist Government overreach must

7     be stopped in even red state Texas.         Tell them to eat a bag."
8     Q       And the last one?

9     A       "If SCOTUS doesn't act we have two choices.         We can
10    either live in a Communist country or we can rebel, keep the

11    rightful President in power and demand free and fair

12    elections #civilwar2021."
13    Q       I'm pulling up Government's 906.

14                THE COURT:    Same objection?

15                MR. BURNHAM:     Same objection.     I would just add
16    that this one is even a much more, much higher level of

17    generality than even some of the ones your Honor has admitted
18    in the series.

19                THE COURT:    I make the same ruling, make the same

20    observation that certainly in my consideration of this
21    evidence, I will consider its level of generality and how

22    specifically it is tied to January 6th, but in the context of

23    the Facebook messages and the question of intent, I find that
24    it's both relevant and not inadmissible under Rule 403.

25    Q       Agent Moore, what are we looking at here in



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1     Government's 906?
2     A       This is a post made by Mr. Brock on Facebook on

3     December 6, 2020.

4     Q       Okay.   And can you tell us what it says?
5     A       "Going to get a lot scarier if SCOTUS doesn't act.         No

6     way in hell we should accept this rigged election.            We need

7     to restore the Constitution and the best and shortest way is
8     to go offensive on the Communists that stole it, aka the

9     Democratic party."
10    Q       All right.    I'm pulling up what is labeled as

11    Government's Exhibit 907.       And just as way of context for

12    your Honor, this one is a conversation between Mr. Brock and
13    another individual, and it takes the entire length of the

14    page.    If it's easier we can highlight the top half and then

15    go to the bottom half.
16                THE COURT:    We're having trouble finding it.        You

17    can scroll.     Scroll again, please.      Is there more on the next
18    page?

19                MS. AYERS-PEREZ:     This is the only page.

20                THE COURT:    And any objection?
21                MR. BURNHAM:     Same basic objection.

22                THE COURT:    Same ruling.     Understanding, of course,

23    that it's what comes from Torch Flyer that I'm looking at in
24    terms of the relevance to this case, and while initially some

25    of the communications from Torch Flyer were pretty mundane



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1     and probably irrelevant, ultimately, the context of the whole
2     series of communications with some specific references later

3     in them, I find that the relevance under 401 and 402 is

4     satisfied and the outcome of the 403 assessment is the same,
5     that any unfair prejudice is not -- does not substantially

6     outweigh the probative value.        And therefore, 907 is

7     admitted.
8     Q       Agent Moore, what are we looking at here in

9     Government's 907?
10    A       It's a direct message conversation between Mr. Brock

11    and someone whose Facebook screen name is Beaf Supreame.

12    Q       Do you happen to know who Beaf Supreame is outside of
13    social media?

14    A       I do.

15    Q       Okay.   Without going into anything he's ever said to
16    you, do you know what his occupation was?

17    A       He had worked at the same company as Mr. Brock,
18    Hillwood Airways.

19    Q       Did he have any military background?

20    A       He did.
21    Q       And what was that?

22    A       I believe he was a Special Forces NCO in the Army and

23    then became a aviator, Army aviator as a warrant officer and
24    retired.

25    Q       Okay.   So what are we looking at here in 907?



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1     A       The conversation between the two of them on Facebook.
2     Q       And what date did it occur?

3     A       December 7th, 2020.

4     Q       And if you could read that conversation for us.
5     A       The first message, Beaf Supreame says, "Need to

6     establish a network prior to anything.          Need event driven IO

7     wins to garner support.       Need hierarchy of command for
8     operational cells and auxiliary support.          Need psyops,

9     leaflets, et cetera.      Then organize civil disturbance without
10    our involvement.      Lots of planning and organizing."

11    Q       Agent Moore, what is psyops, if you know?

12    A       Psychological operations.
13    Q       Okay.   If you could continue.

14    A       To that Mr. Brock responds, "If not you then who?"

15    Q       Keep going.
16    A       And to that Beaf Supreame responds, "Well I'm currently

17    getting my shit mixed at work.        I have very little support
18    from others in the office and just got more thrown on me."

19    Q       You can continue, Mr. Moore -- Agent Moore.

20    A       To that Mr. Brock replies, "Roger."        Then goes on to
21    say, "You know people that should be doing this."

22                      To that, Beaf Supreame replies, "But I am

23    playing this by ear and have a lot of people that are like
24    minded."

25                      To that Mr. Brock replies, "Same."



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1                       To that, Beaf Supreame says, "Never want to be
2     the guy that runs over the protester or blasts a bunch of

3     people in self-defense after putting out a dumpster fire.            It

4     will take an event like someone getting schwacked on a gun
5     grab raid ... then all hell breaks loose."

6                       To that Mr. Brock responded, "Probably but I

7     think we could also peacefully occupy legislatures in these
8     fake states and demand action."        He goes on to post, "I think

9     SCOTUS needs to see if they don't act that there will be
10    blood."

11    Q       And Agent, I apologize, Agent Moore, you say "he goes

12    on to post," is that Mr. Brock?
13    A       Yes, two consecutive posts.

14    Q       Thank you.    Please continue with the last one.

15    A       Finally, Beaf Supreame responds, "I'm pretty sure that
16    I cannot get time off to go to another state.           Gonna keep

17    working until it is at the point when it is time to defend."
18    Q       Thank you.    I'm pulling up what's been marked as

19    Government Exhibit 908.

20                THE COURT:    All right.
21                MS. AYERS-PEREZ:     And there's some more at the

22    bottom of the page, if you can scroll down, please.

23                MR. BURNHAM:     Your Honor.
24                THE COURT:    Mr. Burnham.

25                MR. BURNHAM:     Same objection.     We're confident your



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1     Honor can sort this out, but as a purely legal matter,
2     there's not much relevance here.        It appears to be a lengthy

3     quote and there's references to AR-15s and a master target

4     list and, you know, scary-sounding things that have no
5     connection to the rest of the evidence, so I think it should

6     be excluded on 403 grounds.

7                 MS. AYERS-PEREZ:     Your Honor, I believe when we
8     look at the first message --

9                 THE COURT:    Just scroll back to the first message.
10                MS. AYERS-PEREZ:     Yes.   This is just a continuation

11    of what we've seen in the Government exhibits in the 900

12    series that have come before this, that the defendant is very
13    concerned about the Supreme Court when it comes to the

14    election, that's the basis of the January 6th riots that he

15    took part in.     He's talking about restoring the republic
16    through force of arms and once again talking about the same

17    election that's the basis of the counting of these Electoral
18    College votes.     Then if we scroll to the bottom, at this

19    point it appears Mr. Brock is aware the Supreme Court is not

20    going to do what he's hoping they're going to do when it
21    comes to the election results and now he's talking about

22    rules of engagement, clear chain of command which is going to

23    be emulated in other exhibits that we see after this,
24    including one that your Honor's already seen as part of the

25    opening statement.      But this is all in the context and the



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1     lead up to January 6th and the defendant's continued concern
2     about the election, belief that the election was stolen and

3     the basis of why he's there on January 6th and the intent to

4     stop counting of the Electoral College votes on January 6th,
5     which is the basis of the intent for Count One of the

6     indictment.

7                 THE COURT:    All right.    Same ruling.     Certainly the
8     long quote from speeches by others is not directly of great

9     relevance but the context of the entire chain of
10    communications is consistent with the other Facebook

11    communications that have been admitted into evidence and does

12    bear certainly a relationship to the question of intent and
13    therefore I find it is relevant.        And again, in a bench trial

14    in particular, I find that the Rule 403 analysis leads to the

15    exhibit being admitted and I will admit it.          So that's 908
16    that is admitted.

17    Q       All right, Agent Moore, what are we looking at here?
18    A       Post made by Mr. Brock on December 11th, 2020.

19    Q       Is it multiple posts or just one?

20    A       Yes, sorry, multiple posts.
21    Q       Okay.   And if you could read for us.

22    A       The first says, "If SCOTUS doesn't act, Trump must

23    emulate Lincoln and we must restore the republic through
24    force of arms."     Second post says --

25                THE COURT:    Do we need to read the whole of the



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1     second post?
2                 MS. AYERS-PEREZ:     We don't.    Your Honor, if you're

3     okay with that, if we could just read the last sentence of

4     the first --
5                 THE COURT:    Maybe the first sentence and the last

6     sentence.

7     A       The first sentence is, "True in 1776 and true today if
8     SCOTUS doesn't act."      And the last sentence says, "But when a

9     long train of abuses and usurpations, pursuing invariably the
10    same object evinces a design to reduce them under absolute

11    despotism, it is their right, it is their duty, to throw off

12    such government, and to provide new guards for their future
13    security."

14    Q       Okay, Agent Moore.     If you go on to the last two posts.

15    A       Okay.   The next post says, "It appears as if SCOTUS is
16    going to duck.     If so then it will be game on soon.            We need

17    ROE, a clear chain of command ending with President Trump and
18    a master target list."

19    Q       Agent Moore, do you know what ROE stands for?

20    A       Rules of engagement.
21    Q       Continue with the last post, please.

22    A       "It is a good weekend to make sure your AR-15s are

23    sighted.    Your clips are loaded.      Your body armor checked."
24    Q       Agent Moore, what is an AR-15 if you know?

25    A       It is a semiautomatic rifle.



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1     Q       Going to pull up what's been marked as
2     Government's 909.

3                       (The Court reviewing the exhibit.)

4                 THE COURT:    Scroll, please.     All right.     That's it?
5                 MS. AYERS-PEREZ:     It's four pages long, your Honor.

6                 THE COURT:    Oh.   All right.    Keep scrolling.

7                 Scroll again, please.
8                 And again.    Woops, I'm sorry.      Well, yeah, stop.

9     Okay.
10                Scroll, please.

11                And again.

12                And again.
13                And that's it?

14                MS. AYERS-PEREZ:     That is it.

15                THE COURT:    Thank you.
16                MR. BURNHAM:     Your Honor, we're getting close to

17    the part I believe is relevant but I'm going to continue
18    objecting for a couple more.        Now it's in evidence that this

19    is a military buddy, this post in particular is sort of out

20    there theorizing, so same objection.
21                THE COURT:    All right.    You know, some of this has

22    marginal relevance, but I don't think in the context of the

23    entire set of Facebook communications the prejudice,
24    particularly with me, is all that great, and indeed I don't

25    think it outweighs the probative value of this set of



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1     communications in the context of the other communications,
2     and it's really just setting out a full context.           This one's

3     probably a little closer, but I will go ahead and admit it,

4     and under both the 401, 402 analysis, and a 403 prejudice
5     analysis.

6     Q       All right, Agent Moore, what are we looking at here in

7     Government's Exhibit 909?
8     A       This is another Facebook direct message conversation

9     between Mr. Brock and the friend Beaf Supreame that we
10    referenced earlier.

11    Q       And when does this conversation take place?

12    A       December 18th, 2020.
13    Q       Okay.   If you could read what Mr. Brock says, please.

14    A       First post says, "If Biden steals it, I do not

15    recognize the USG as being legitimate."
16    Q       Do you know what the USG stands for?

17    A       United States Government.
18    Q       If you could continue, please.

19    A       "I want to actively rebel."

20    Q       What does Beaf Supreame say?
21    A       "I think there is so much swilling right now with

22    commie china ties and hunter business deals ... all the MSM

23    networks are suppressing the story.         There will be some
24    blowback coming, timed with a coming sham inauguration that

25    may be the IO victory that we can leverage."



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1     Q       Do you know what MSM stands for?
2     A       Mainstream media.

3     Q       You can continue, please.

4     A       Beaf Supreame goes on to say, "Do you have body armor
5     or plate carrier?"      To this Mr. Brock replies, "Yep."

6     Q       What does Mr. Brock do at that point?

7     A       He sends a photo to Beaf Supreame.
8     Q       And what is this photo of?

9     A       A plate carrier.
10    Q       Does that look familiar to you in any of the evidence

11    you've seen so far?

12    A       It does, looks like the plate carrier Mr. Brock was
13    wearing on January 6th, 2021.

14    Q       And by plate carrier, does it look like a vest

15    basically?
16    A       Yes, body armor or vest.

17    Q       We can continue.     All right, Agent Moore, what happens
18    from here?

19    A       Mr. Brock posts, "Gets here 28 December."

20    Q       From there?
21    A       Beaf Supreame responds, "Nice.       I am trying to get some

22    new plates from a buddy."       Beaf Supreame goes on to post,

23    "Mine are moldy and delaminating."         To this, Mr. Brock
24    replies, "Can you imagine if several hundred thousand

25    patriots descended on D.C. refusing to let Biden be



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1     inaugurated."     And he goes on to say, "I do not believe the
2     U.S. military will fire on us."

3                       To that, Beaf Supreame posts, "Yeah.

4     Inauguration would be canceled or moved to a secure
5     location."     Beaf Supreame goes on to post, "But would be more

6     of a spectacle to delay."       And again posts, Beaf Supreame

7     again posts, "And a possible IO loss if a cop got hurt."
8                       To that Mr. Brock responded, "Look dude I am

9     pretty sure I am ready to go at it.         I just need numbers with
10    me."

11    Q       And from there?

12    A       Beaf Supreame responds, "It would be branded as a right
13    wing militia extremist organization that hates LEO."

14    Q       From there?

15    A       Mr. Brock responds, "Yep but we will be branded that
16    way regardless."

17    Q       Keep going.
18    A       Beaf Supreame responds, "Disagree, the left are doing a

19    great job of branding themselves."         Beaf Supreame goes on to

20    post --
21    Q       Agent Moore, sorry to cut you off there, but I think

22    that message has one final word there at the top of the next

23    page.
24    A       Yes, I left out a word.      So Beaf Supreame's last post

25    said, "Disagree, the left are doing a great job of branding



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1     themselves extremists."
2     Q       Okay.   Go on from there, please.

3     A       Beaf Supreame goes on to post, "We need to be rational,

4     organized, strength to back the defense of the Constitution.
5     Can't blow the load early or we are just a bunch of Proud

6     Boys, et cetera."

7     Q       And Agent Moore, are you familiar with the term Proud
8     Boys?

9     A       I am.
10    Q       And what is that?

11    A       They are a -- consider themselves to be western

12    chauvinists, I don't want to tie that to any sort of ideology
13    but they're western chauvinists, organization that is often

14    protesting and threatening to use violence against people

15    that they oppose.
16    Q       If you can continue from there.

17    A       To that, Beaf Supreame goes on to post, "I'm don't
18    agree with armed protesting, nothing good comes from it.

19    Just bad press.     I haven't seen a line in the sand where I

20    quit my job and go to war."
21                      To that Mr. Brock responds, "Dude, if theft of

22    the Presidency isn't enough, why do you think gun

23    confiscation will be?"
24                      To that Beaf Supreame says, "Okay, so load up

25    our trucks and go to D.C. and hope we don't get arrested?"



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1                       Mr. Brock responds, "Nope.       We need a plan.     I
2     am hoping Trump provides it."

3                       To that, Beaf Supreame says, "the Presidency

4     was stolen.     It's time for damage control starting in
5     Georgia.      The ATF signaled their softball answer to Biden's

6     call.    I am waiting for the situation to develop.         A lot of

7     people are waiting for that as well."
8     Q       Agent Moore, this is just to make sure the record is

9     clear, in that last post you just read, is it Georgia or did
10    it say GA?

11    A       GA.

12    Q       Do you know that to stand for Georgia?
13    A       I do.

14    Q       Okay.   If you could continue, please.

15    A       So to that post, Mr. Brock responds, "You know how to
16    boil a frog?"

17                      And to that, Beaf Supreame posts, "Well a frog
18    is just a dumb amphibian without the ability to adapt to its

19    situation.      It acts only with animal instincts and can be

20    controlled because those instincts are predictable and basic.
21    The mistake can be made by someone that reaches for the frog

22    and is met by a predator that may look like a frog to the

23    boiler."
24                      To that Mr. Brock responds, "LOL."        And

25    Mr. Brock goes on to post, "Drew, I don't believe Americans



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1     will act."
2     Q       Do you know who Drew is?

3     A       Yes, Drew is the first name of the person with the Beaf

4     Supreame Facebook name.
5     Q       Okay.   And then the last message?

6     A       Beaf Supreame responds, "I disagree.        I've seen

7     firsthand what 12 guys can do to recruit, train, equip and
8     advise lesser motivated people."

9     Q       All right.    I'm going to pull up what's been marked as
10    Government's Exhibit 910.

11                      Your Honor, this begins with what you're

12    familiar with from opening statement; however it is actually
13    three pages long.

14                THE COURT:    Did I admit the document when we

15    discussed it or just indicated an inclination to admit it?
16                MS. AYERS-PEREZ:     You did not actually admit it,

17    you just said that you wanted to see where the evidence takes
18    us because you don't know if it's relevant until you heard

19    the rest of the evidence.

20                THE COURT:    All right.    Well, let me read it over.
21                      (The Court reviewing the exhibit.)

22                THE COURT:    Scroll again, please.

23                And again.
24                And again.    Is that it?

25                MS. AYERS-PEREZ:     That is it, your Honor.



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1                 THE COURT:    Thank you.
2                 MR. BURNHAM:     Same objection, your Honor.          Now with

3     the benefit of all the evidence, our position would be that

4     the yawning gap between the content here and the actual rest
5     of the case evidence is starting to get absurd.           We're

6     talking about setting up provisional governments and, you

7     know, all sorts of stuff, so same objection on those grounds.
8                 THE COURT:    All right.    Go to the top of the

9     document, please.      Scroll back.    So in context, I think this,
10    continue to think that this exhibit is admissible.            With

11    respect to relevance, it specifically outlines a, to quote

12    it, "plan of action if Congress fails to act on 6 January,"
13    and then among the list of main tasks are seizure or, is

14    seizure of certain members of Congress.          So it seems to me

15    that this does have some real connection to what is being
16    charged with respect to Mr. Brock and therefore I find that

17    the test of relevance has been met, it is relevant and
18    therefore admissible.

19                With respect to prejudice, standing alone, maybe

20    I'd think that there was some prejudice but put in the
21    context of all the other documents that have been admitted,

22    it seems to me that the prejudice here is not significant and

23    not unfair, and does not substantially outweigh the probative
24    value or relevance of the document and therefore 910 is

25    admitted.



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1     Q       Agent Moore, what are we looking at here with
2     Government's Exhibit 910?

3     A       This is a continuation of the conversation between

4     Mr. Brock and Beaf Supreame.
5     Q       What is the date of this conversation?

6     A       December 24th, 2020.

7     Q       Okay.   And who starts the conversation?
8     A       Mr. Brock.

9     Q       Can you tell us what Mr. Brock says?
10    A       "Initial thoughts if we could do it.        Assumptions:

11    U.S. military isn't involved.        Objective:    Restore the rule

12    of law in the rebellious states, hold a free and fair
13    election in one year.        Plan of action if Congress fails to

14    act on 6 January."

15    Q       And just for the record, that was -- it says Jan,
16    right?

17    A       That's correct, it says 6 Jan.
18    Q       And do you know that to be a short form of the word

19    January?

20    A       Yes, ma'am.
21    Q       If you could continue, please.

22    A       "Main tasks.    1.   Seize all Democratic politicians and

23    Biden key staff and select Republicans (Thune and McConnell).
24    Begin interrogations using measures we used on Al Qaeda to

25    gain evidence on the coup.



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1                       "Number 2.    Have General Flynn get in touch
2     with President Trump and have him declare a state of

3     Insurrection exists to provide color of law to our actions.

4                       "3.   Seize national media assets and key
5     personnel.     Zuck, Jack, CNN lead and talking heads, seize

6     WAPO, seize NYT editors.       Eliminate them.     Media silence

7     except for White House communications."
8     Q       Agent Moore, do you know who Zuck is?

9     A       I believe it's a reference to former Twitter CEO -- or
10    correction, Zuck is a reference to Mark Zuckerberg, the

11    current founder and CEO of Facebook.

12    Q       And Jack?
13    A       Jack I believe is a reference to former Twitter CEO

14    Jack Dorsey.

15    Q       And WAPO, do you know what that stands for?
16    A       The Washington Post.

17    Q       Do you know what NYT stands for?
18    A       New York Times.

19    Q       If you can continue, Agent Moore, please.

20                THE COURT:    Interesting observation that now in
21    your view, CNN doesn't require explanation but the print

22    media, Washington Post and New York Times do.

23                MS. AYERS-PEREZ:     That's true.
24                THE COURT:    Maybe a comment on our society.

25    Q       Agent Moore, do you know what CNN stands for?



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1     A       The Cable News Network.
2     Q       There we go, thank you.      If we can continue.

3     A       "Number 4.    Present slate for clean elections to

4     existing Congress and make sure they sign.
5                       "Number 5.    Let the Democratic cities burn.

6     Cut off power and food to all who oppose us.

7                       "Number 6.    Establish provisional government
8     in rebellious states and representatives we can count on.

9                       "Number 7.    Seize all foreign aid except for
10    key allies as determined by Trump.

11                      "Number 8.    General pardon for all crimes up

12    to and including murder of those restoring the Constitution
13    and putting down the Democratic Insurrection.

14                      "ROE."

15    Q       What does that stand for again, Agent Moore?
16    A       Rules of engagement.

17    Q       If you can continue, please.
18    A       "1, do not kill LEO unless necessary.        Gas would assist

19    in this if we can get it."

20    Q       Agent Moore, do you know what LEO stands for?
21    A       Law enforcement officer.

22    Q       If you can continue, please.

23    A       "2.   Attempt to capture Democrats with knowledge of
24    coup.

25                      "3.   Shoot and destroy enemy communication



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1     nodes and key personnel.
2                       "4.   So many subtasks I can't even imagine

3     them."

4     Q       And what's the response to this, Agent Moore?
5     A       To this Beaf Supreame responds, "So what's the

6     paragraph III meat and potatoes?        Concept of the operations,

7     tasks to subordinate units, coordinating instructions and
8     actions on the objective."

9     Q       And that's just a shortened version of the word
10    objective?

11    A       That's correct.

12    Q       Okay.   And what else does he say?
13    A       He goes on to say, "Who is providing secure comms, who

14    is in command, what is the order of battle with tasks and

15    purpose of maneuver units?       Locations of command elements and
16    next higher, and paragraph V stuff, who is providing funding,

17    medical care and facilities, weapons, ammo, demo, equipment,
18    meals, billeting, DETFACs, et cetera?"

19    Q       What does comms mean, Agent Moore?

20    A       Communications.
21    Q       And what is DETFACs?

22    A       I believe it's a -- not an acronym but shorter version

23    of detention facilities.
24    Q       Okay.   And what happens from there?

25    A       Beaf Supreame goes on to say, "And going back to



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1     mission prep and IPB, what is the enemy situation, COO/MCOO,
2     comp, disp capabilities, air, fires, known and assessed

3     locations for targeting, MLCOA/MDCOA."

4     Q       All right, there's a lot in this one, Agent Moore.
5     What does IPB stand for?

6     A       Information preparation of the battlefield.

7     Q       Do you know what COO/MCOO stands for?
8     A       MCOO is modified combined obstacle overlay and I

9     believe which is basically a piece of acetate you put over a
10    map when you're planning a military operation to depict

11    certain obstacles.      I believe COO is a similar thing but I in

12    the Army have not seen COO.
13    Q       What about MLCOA?

14    A       Most likely course of action.

15    Q       MDCOA?
16    A       Most dangerous course of action.

17    Q       And going up a little, do you know what comp is short
18    for?

19    A       Composition.

20    Q       And Disp?
21    A       Disposition.

22    Q       Okay.    If you can continue from there.

23    A       To that, Mr. Brock responds, "Totally agree and it all
24    starts with a chain of command."

25    Q       And from there?



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1     A       Goes on to say, "It needs to stretch to Trump ideally."
2     Q       Was that Mr. Brock who says that?

3     A       Yes.

4     Q       Okay.   And what happens from there?
5     A       Beaf Supreame replies, "So unified command at strategic

6     level is not entirely necessary.        But field commanders and

7     order of battle for maneuver elements jas," I think he means
8     has, "to be defined."

9     Q       Okay.
10    A       To that Mr. Brock responds, "No question."         And then

11    goes on to respond again, "Surely someone has planned for

12    this with experience."       Goes on to post again.      "This isn't
13    what I was trained to plan."

14                      And Beaf Supreame says, "This is like an

15    invasion versus UW, punching and running in support of larger
16    operations.     So in occupied, nonpermissive/semipermissive

17    battle space, the UW operation is supported by an area
18    command, with subordinate overt and covert elements.              We

19    called them the auxiliary, logistical support network and

20    guerrilla force.      I am trained to act as a Co-BN," which I
21    believe means company or battalion, "commander for indigenous

22    forces if necessary, lead small teams or train larger

23    elements, usually brigade staff to plan for and carry out
24    operation."

25    Q       What does UW stand for, if you know?



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1     A       Unconventional warfare.
2     Q       What does nonpermissive/semi-permissive battle space

3     mean, if you know?

4     A       Refers to level of threat that exists in the battle
5     space.

6     Q       Okay.   And then you said Co/BN stood for battalion?

7     A       CO stands for company which is military formation and
8     then BN stands for battalion which is the larger parent

9     military formation.
10    Q       And what did you say BDE stands for?

11    A       Brigade which is the even larger parent military

12    formation to a battalion.
13    Q       Understood.    If you could continue, please, Agent

14    Moore.

15    A       Beaf Supreame goes on to say, "The root SF, UW/FID
16    mission still has the backing of the U.S. military, so not

17    necessarily a unilateral op."
18    Q       What does SF stand for?

19    A       Special forces.

20    Q       What does UW/FID stand for?
21    A       UW stands for unconventional warfare, FID stands for

22    foreign internal defense.

23    Q       Okay, if you could continue, please.
24    A       Mr. Brock responds, "Yes, but you know people trained

25    to do larger stuff.      My prediction is occupation of Capitol



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1     abs capture of some assets is easy.         If Trump didn't back the
2     peaceful protest of veterans to restore the republic, we

3     lose."    Mr. Brock goes on to say, "I think we would covertly.

4     They have to have cover and denial."
5     Q       And from there?

6     A       Mr. Brock says, "Okay, hopping in the shower.             Think

7     more."
8                       To that Beaf Supreame responds, "Okay.           First

9     thing to figure out is who is the source for op funds."
10                      To that Mr. Brock responds, "Makes you wonder

11    how our revolution got off the ground."          Mr. Brock goes on to

12    say, "We need someone with $$$$ to back it."
13    Q       And lastly?

14    A       To that Beaf Supreame responds, "Revolution had funding

15    from France and seized property.        But for every conventional
16    in ranks battle there were 10 guerilla style operations like

17    the most famous Christmas Day raid.         The Brits never had a
18    chance.    That is why we spend billions every year to sustain

19    combat operations in AFG against the sand people."

20    Q       What do you -- or do you know what AFG stands for?
21    A       I believe it's short for Afghanistan.

22    Q       If we can go up to the top of page 2, I'm going to

23    bring you back to one that we had talked about a little bit
24    earlier, where Beaf Supreame says, "So what's the paragraph

25    III meat and potatoes," do you know what paragraph III is in



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1     reference to?
2     A       I do.   It's the execution paragraph of a military

3     operations order.

4     Q       Okay.   And below that it says, "and paragraph V stuff,"
5     do you know what that is in reference to?

6     A       That's the command and signal paragraph of a military

7     operations order.
8     Q       Thank you.    I'm going to pull up what's been marked as

9     Government's Exhibit 911.
10                MR. BURNHAM:     Happy to say, we have no objection to

11    this one.

12                THE COURT:    Thank you, Mr. Burnham.       Without
13    objection, 911 may be admitted.

14    Q       All right, Agent Moore, what are we looking at here?

15    A       This is a Facebook conversation between Mr. Brock and
16    someone with the user name Bettina Steinhold.

17    Q       And when is this from?
18    A       December 26, 2020.

19    Q       Who is writing the first message?

20    A       The first one is from Bettina Steinhold.
21    Q       And can you read that for us?

22    A       "I'm not thinking that.      At all.    I just believe that a

23    Civil War is the last resource, and no one should wish for
24    it.   I'm sure there are more civilized ways to fight."

25    Q       And the response?



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1     A       Mr. Brock responds, "Agree.       Congress can stop it on
2     the 6th of January."

3     Q       And from there?

4     A       Goes on to say, "The Supreme Court is staying out of
5     it."    And again posts, "Those are the last two peaceful

6     options."

7     Q       So those last three posts starting with the, "Agree.
8     Congress can stop it on the 6th of January," ending with,

9     "The last two peaceful options," those came from Mr. Brock?
10    A       That's correct.

11    Q       If you could continue from there?

12    A       Bettina Steinhold posts, "Okay."
13                THE COURT:    Are we on another date now?

14    Q       Yes, Agent Moore, are we on a new date now?

15    A       Yes, ma'am, this is December 27th, 2020.
16    Q       And what's the response to that?

17    A       Mr. Brock responds, "I don't want it to be this way but
18    communism isn't coming to Texas."

19    Q       I'm going to pull up what's been marked as Government's

20    Exhibit 912.
21                MR. BURNHAM:     No objection to this one either.

22                THE COURT:    Without objection, 912 is admitted.

23    Q       All right, Agent Moore, what are we looking at here?
24    A       This is a continuation of the Facebook conversation

25    between Mr. Brock and Beaf Supreame.



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1     Q       Okay.   And if you could start with that second message
2     and tell us who it is from.

3     A       That's from Mr. Brock.

4     Q       And what is the date of these messages?
5     A       December 27th, 2020.

6     Q       Could you read that message, please?

7     A       "I don't think they will do it when the Dems come for
8     the guns."

9     Q       Is that, "I don't even think they will do it"?
10    A       "I don't even think they will do it when the Dems come

11    for the guns."

12    Q       That's from Mr. Brock?
13    A       That's correct.

14    Q       If you could continue from there, please, Agent Moore?

15    A       Beaf Supreame responds, "Hope not.        Riots are for
16    chimps."

17    Q       Keep going, Agent Moore, please.
18    A       Mr. Brock responds, "I prefer outright Insurrection at

19    this point."     Mr. Brock goes on to say, "Booked the hotel.

20    Now need to book flights."
21                      Beaf Supreame responds, "Where?"        And

22    Mr. Brock responds, "D.C. on the 5th through the 7th."            Then

23    Mr. Brock goes on to say, "I have a feeling history will turn
24    there."    And Mr. Brock posts again, "Not sure how."

25    Mr. Brock goes on to post, "Hopefully Congress doing what is



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1     right."    Mr. Brock goes on to post, "Or could be a clown show
2     and an IO loss or an outright rebellion."          Mr. Brock goes on

3     to post, "Not knowing how it will go."

4     Q       Is that not knowing or no knowing how it will go?
5     A       Sorry, "No knowing how it will go."

6     Q       What happens from there?

7     A       Beaf Supreame posts, "Probably not the best way to go
8     into something.     And I seriously doubt it would pay off if

9     you get wrapped up in a riot."        Beaf Supreame goes on to
10    post, "There won't be a revolution in D.C.          There may be some

11    people getting rolled up.       Let the situation develop."

12    Q       Okay.   I'm going to pull up what's been marked as
13    Government's Exhibit 913.

14                THE COURT:    Mr. Burnham?

15                MR. BURNHAM:     No objection.
16                THE COURT:    Without objection, 913 is admitted.

17    Q       All right, Agent Moore, what are we looking at here?
18    A       This is a series of Facebook posts by Mr. Brock.

19    Q       And what is the date of these?

20    A       December 28th, 2020.
21    Q       Well, for the first two, what about the last two?

22    A       The last -- sorry, the third post is from

23    December 29th, 2020 and the last one is from December 31st,
24    2020.

25    Q       Okay.   And can you read these for us?



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1                 THE COURT:    Could you tell me how you know these
2     are from Mr. Brock?

3                 THE WITNESS:     I would need you to scroll up.         I

4     reviewed the Facebook search warrant return with the
5     redactions here, I can't speak intelligently to what is above

6     these postings.

7                 MS. AYERS-PEREZ:     I'm not the witness, your Honor,
8     but I can answer as to what the record looks like.            There are

9     portions of it where it speaks or you have Torch Flyer and
10    then you have a series of posts or messages.           They don't

11    always have his name there but they are under there and you

12    have the date and the time and what the message is.               And this
13    would be some of those that are within that.

14                THE COURT:    All right.    I will allow the Government

15    to provide me something that establishes that it's from
16    Mr. Brock, unless Mr. Burnham has no objection to -- or

17    stipulate basically to the fact that these are messages from
18    Mr. Brock's Facebook account.

19                MR. BURNHAM:     Your Honor, it's tempting to take

20    this opportunity but they probably could come up with
21    something, so we'll agree they can come in.

22                THE COURT:    All right.    So you may proceed.

23    Q       Thank you.    Agent Moore, what are we looking at here?
24    A       Posts made by Mr. Brock on Facebook in late

25    December 2020.



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1     Q       Okay.   And if you could read us the first one and let
2     us know the date, please.

3     A       First one is December 28th, 2020, "Want to see some

4     panic.    Start playing the Purge siren outside the Capitol on
5     6 January 2021.     Watch Nancy flee."

6     Q       And it's, Jan was the abbreviated form of January?

7     A       That's right.
8     Q       And who is Nancy, if you know?

9     A       I would speculate.
10                THE COURT:    It's speculation.      We can all do the

11    same speculation.

12    Q       The next message, please, Agent Moore, and the date?
13    A       Next message, December 28th, 2020.        "I need all people

14    that voted Democrat to wear a piece of cloth identifying you

15    as a nonfunctioning member of society.          You need to do this
16    to flatten the curve.       It is for our collective health.      If

17    you refuse I will need to close your business and destroy
18    your livelihoods.      Trust the science, if you vote Democratic

19    you are a moron and usually a leech on the body politic, so

20    please wear your cloth.       I prefer the cloth to be a series of
21    concentric red circles over the heart.          This will show you

22    care."

23    Q       And the next post along with the date of that post?
24    A       The next post is December 29th, 2020.        "Expect Fakebook

25    to fact check it as they have deep admiration for Goebbels."



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1     Q       And the last post and the date, please.
2     A       The last post is December 31st, 2020, "'We are now

3     under occupation by a hostile governing force.           That may seem

4     ludicrous to some, but I see no distinction between a group
5     of Americans seizing power and governing with complete

6     disregard for the Constitution and an invading force of

7     Chinese Communists accomplishing the same objective.'
8     Against all enemies foreign and domestic #oathkeeper #2A

9     #III percent."
10    Q       Agent Moore, with the exception of the last sentence,

11    "against all enemies foreign and domestic," along with

12    hashtags, are the rest -- is the rest of that in quotes?
13    A       It is.

14    Q       Okay.    Moving on to what's been marked as Government's

15    Exhibit 914.
16                MR. BURNHAM:     No objection.

17                THE COURT:    Thank you, Mr. Burnham, and without
18    objection, 914 will be admitted.

19    Q       All right, Agent Moore, what are we looking at here?

20    A       This is a comment that Mr. Brock made from his Torch
21    Flyer Facebook account on January 1st, 2021.

22    Q       And what did it say?

23    A       "Help is on the way.     6 Jan 2021 #MAGA
24    #Stormthecastle."

25    Q       Do you know what MAGA stands for?



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1     A       Make America Great Again.
2     Q       Okay.   Moving on to Government's Exhibit 915.

3                 MR. BURNHAM:     No objection.

4                 THE COURT:    Without objection, Government's 915
5     will be admitted.

6     Q       All right.    What are we looking at here, Agent Moore?

7     A       It's a post made by Mr. Brock's Torch Flyer Facebook
8     account on January 5th, 2021.        And he says, "Our second

9     American Revolution begins in less than two days."
10    Q       Okay.   And scrolling down --

11                THE COURT:    Again, is that in quotation marks, or

12    appears to be?
13                THE WITNESS:     Yes, your Honor.

14    Q       And what is -- is there another message here, Agent

15    Moore?
16    A       There is.    It's another message from Mr. Brock's Torch

17    Flyer Facebook account, on January 3rd, 2021, also in quotes,
18    it says, "Irrelevant.       Biden won't be inaugurated.       We will

19    ensure that on the 6th."

20    Q       Okay.   And pulling up Government's Exhibit 916.
21                MR. BURNHAM:     No objection.

22                THE COURT:    Without objection, 916 is admitted.

23    Q       All right, Agent Moore, what are we looking at here?
24    A       A series of posts from Mr. Brock's Torch Flyer Facebook

25    account, starting on January 5th, 2021.



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1     Q       Okay.   And what does it say?
2     A       "Plane is packed with people going to Stop the Steal."

3     Q       And from there?

4     A       Goes on to post, "AA bought four people off the plane
5     at a thousand dollars each."

6     Q       And scrolling down.     What's the date and the post on

7     this one?
8     A       This date is January 6, 2021.

9     Q       What does he say?
10    A       "Here we go again."

11    Q       And the next?

12                THE COURT:    Perhaps you should for the record give
13    not only the date of something on January 6th but also the

14    time.

15    Q       Okay.   And what is the time here?
16    A       The time here is 3:23 UTC which is five hours ahead of

17    Eastern Standard Time so this post was likely 10:23 p.m. on
18    January 5th.

19    Q       Okay.   And the next post, with the date and time as

20    well, please.
21    A       Okay.   Again, this is UTC time so this would have been

22    10:23 p.m. on January 5th, 2021, "Men with guns need to shoot

23    their way in."
24    Q       Okay.   And from there, what did Mr. Brock do?

25    A       He posted ... on January 5th, 2021 at 10:57 p.m., he



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1     sent a message with an attachment and says, "Police in D.C.
2     are currently pepper spraying Trump supporters who are

3     outside rallying for Trump.        Guess they forgot who was

4     backing the blue when BLM supporters aka Democrat voters were
5     killing."

6     Q       Okay.   And from there scrolling down.       Okay.    Is

7     Mr. Brock involved in a conversation with someone else?
8     A       Yes, with someone named Shelley.

9     Q       Okay.   And what's the date on these and the time?
10    A       This appears to be 11:33 p.m. on January 5th, 2021,

11    someone named HRM Shelley says, "Freaking Georgia."

12    Q       And from there?
13    A       Goes on to post, "I won't fly through ATL until they

14    get their crap together."

15    Q       And from there?
16    A       Mr. Brock responds, "What did you expect?         There will

17    never be a free and fair election again."
18    Q       And what was said from there?

19    A       "As long as they can keep the fraud machine cranked."

20    Q       And from there, Agent Moore?
21    A       Mr. Brock goes on to write, "One man one vote.            No

22    absentee unless military.       Period."    And he goes on to post,

23    "Seriously, did you expect them not to run the same play
24    again and again until we stop it?"

25    Q       Okay.   Agent Moore, I want to take you back to one



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1     thing we had discussed yesterday when you executed the search
2     warrant at Mr. Brock's residence.

3     A       Yes, ma'am.

4     Q       Did you find a gun safe there?
5     A       We did.

6     Q       Was there anything unusual about it?

7     A       The code to the gun safe was left on the gun safe but
8     there were no guns in the safe.

9     Q       Okay.
10                MS. AYERS-PEREZ:     I pass the witness, your Honor.

11                THE COURT:    Mr. Burnham?

12                MR. BURNHAM:     Would this be a good time, even if
13    it's perhaps a little early, to take just a five-minute break

14    before we start cross?

15                THE COURT:    The request is for our morning break
16    now, and I'm happy to honor that request, we'll take a

17    10-minute break.
18                MR. BURNHAM:     Thank you, your Honor.

19                THE COURT:    All right.    So see you back -- well, it

20    will be 12 minutes to make it easy, I'll see you back at
21    11:00 by the clock on the back of the court.

22                MR. BURNHAM:     Thank you.

23                      (Court in recess, 10:48 a.m. to 11:05 a.m.)
24                THE COURT:    All right, sorry for the delay, I hope

25    you made good use of the time, Mr. Burnham.



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1                 MR. BURNHAM:     Thank you, your Honor.
2                 THE COURT:    We need the witness.      Special Agent

3     Moore.    I remind you you're still under oath.

4                 THE WITNESS:     Yes, sir.
5                 THE COURT:    And Mr. Burnham.

6                 MR. BURNHAM:     Thank you, your Honor.

7     CROSS-EXAMINATION BY MR. BURNHAM:
8     Q       Good morning, Agent Moore.

9     A       Morning, sir.
10    Q       So it came out a couple times in your testimony that

11    you were in the Army for six years; that's correct, right?

12    A       That's correct.
13    Q       And am I correct in understanding you were in the

14    artillery was your part of it, is that right?

15    A       That's correct.
16    Q       All right.    And that's shooting large guns in layman's

17    terms?
18    A       That's correct.

19    Q       And in your experience, did you learn that soldiers

20    that are in that branch for extended period of time might
21    suffer hearing loss?

22    A       Yes.

23    Q       All right.    Because guns are extremely loud?
24    A       That's right.

25    Q       And aircraft engines are also very loud, would you



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1     agree with that?
2     A       Yes.

3     Q       Especially jet engines?

4     A       I don't have direct experience but I'm sure they're
5     loud.

6     Q       Thank you.    Do you agree that the Punisher comic book

7     character is sort of an object of fascination in the military
8     these days?

9     A       Yes.
10    Q       You see it on Humvees and you see people with tattoos

11    and that kind of thing?

12    A       Yes.
13    Q       The famous soldier Chris Kyle, who you may know, the

14    Punisher was sort of his symbol, do you recall that, if

15    you're aware?
16    A       I do.

17    Q       Thank you.    Would you agree that Larry Brock was
18    approximately 54 years old on January 6th, 2021?

19    A       I actually don't recall his birthday, but if -- is that

20    how old he was?
21    Q       Does that sound roughly correct?

22    A       Yes.

23    Q       Mid 50s I guess let's say?
24    A       Yes, sir.

25    Q       And you testified about some knowledge you gained about



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1     Mr. Brock's military career on direct, you recall that,
2     right?

3     A       Yes.

4     Q       And did you learn that he flew several hundred combat
5     missions?

6     A       Yes.

7     Q       And that's largely flying the A10?
8     A       Correct.

9     Q       You were assigned this case on the morning of
10    January 9th, is that right?

11    A       That's correct.

12    Q       And that was January 9th, that was a pretty hectic time
13    for law enforcement, would that be correct?

14    A       Yes, sir.

15    Q       And it sounds like you acted pretty fast to get the
16    information you needed to find out what the story with

17    Mr. Brock was, is that right?
18    A       That's correct.

19    Q       And I assume toward the top of that list of things you

20    had to do would be to get the CCTV feed footage and review
21    that?

22    A       At that time, I didn't even know what CCTV was.

23    Q       I understand, but I assume once you got assigned this
24    case involving the Capitol, one of first things you would

25    have done is call the Capitol and say do you guys have



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1     cameras, is that right?
2     A       I mean, it wasn't one of the first things since there

3     was already overwhelming video evidence available, but that

4     was, you know, kind of further down the list of things we
5     did.

6     Q       Okay.   So it wasn't a priority for you to get the

7     cameras from inside the Capitol itself as soon as you could?
8     A       My top priority was locating Mr. Brock and safely

9     arresting him --
10    Q       I don't mean to cut you off, my question is

11    specifically not what was your top priority, my question was,

12    was it not a top priority to get the Capitol video footage in
13    the early part of the case?

14    A       Yes, in the early part of the case as in, within the

15    first week, yes, that was a priority.
16    Q       Approximately when did you receive the CCTV footage?

17    A       I don't recall.
18    Q       Can you give me a month?

19    A       I believe it was in -- first, I don't recall.

20    Q       You can't even give me a month?
21    A       I can tell you it was in the winter or spring of 2021.

22    Q       And spring meaning until May, could have been as late

23    as May or as early as January, is that the best we can do?
24    A       Yes.

25    Q       There were several videos introduced through your



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1     testimony from Mr. Brock's phone.         You recall that, right?
2     A       Yes, sir.

3     Q       And two or three of them were short snippets of the

4     speech by former President Trump at the Ellipse, you recall
5     that?

6     A       Yes, sir.

7     Q       And whether or not it was captured on those videos, did
8     you learn that part of the remarks that the President made

9     was, we want to go to the Capitol, addressing the protesters?
10    A       Yes.

11    Q       And I think he said, I'll be there with you, is that

12    part of his remarks, to your knowledge?
13    A       I don't recall the speech in that kind of detail.

14    Q       Do you recall a video of the President that's in

15    evidence that says, I think this is pretty close to exact
16    quote, all Vice President Pence has to do is send it back to

17    the states and recertify.       Do you recall that statement in
18    evidence?

19    A       I do.

20    Q       And do you understand the President, by using the word
21    it to be referring to the election results basically?

22    A       Yes.

23    Q       And what he was saying there was that he, according to
24    him anyway, the Vice President could refer the matter back to

25    the states and they could consider whatever issues had been



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1     raised involving fraud, illegality, whatever?
2     A       Yes.

3     Q       Were you -- you become aware as part of your

4     investigation that not everybody in the crowd but there were
5     a considerable number of people who made derogatory comments

6     about the Vice President that day?

7     A       Yes.
8     Q       Thank you.    If the Government would be good enough to

9     help us, can we actually take a look at Number 325.               And
10    while they're pulling that up, that video, I'll represent to

11    you is the one with the defendant wearing a vest and I think

12    your testimony on direct was that you thought it was -- it
13    could be the same vest as was shown in the January 6th

14    photograph but in different lighting; is that your testimony

15    about that?
16    A       Yeah, I -- it appears to be a different color so it

17    could be -- it appears to be similar in design but I don't
18    know if it's lighting or whatnot but that looks like a

19    different color and it could be a different vest.

20    Q       It appears to be tan, would that be --
21    A       Yes.

22    Q       What color military gear is typically worn in middle

23    eastern countries?
24    A       I mean there's different shades, this is what I would

25    call coyote tan and I believe the vest he had on on



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1     January 6th was green.       Like I said yesterday, I don't know
2     if that's a function of the lighting in this picture or if

3     they're different vests.

4     Q       Well, you're aware that Mr. Brock, if you are aware,
5     has been to the Middle East as a military officer and as a

6     civilian many, many times, is that correct?

7     A       That's correct.
8     Q       And the standard, let's say the standard BDU in fatigue

9     uniform in the Middle East is largely tan in color, not
10    green, correct?

11    A       I -- having been there myself, there are -- I've seen

12    many people wearing green body armor in Iraq and Afghanistan,
13    so it's ... I've seen both.

14    Q       Okay.   You can take it down, thank you.        There was

15    another piece of social media evidence that had -- 901, we
16    don't have to pull it up, that said #oathkeeper, you recall

17    that, right?
18    A       Yes.

19    Q       To be absolutely clear, there's no evidence that

20    Mr. Brock was a member of the Oath Keepers?
21    A       No, there's not.

22    Q       There's no evidence that he has ties to anyone in the

23    Oath Keepers?
24    A       No, there's not.

25    Q       Oath Keepers are not then and are not now an illegal



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1     organization, however disreputable certain people may think
2     they are, correct?

3     A       Could you repeat -- do you say legal?

4     Q       Illegal.    The Oath Keepers were not then, nor are they
5     today, an illegal organization?

6     A       That's correct.

7     Q       And a hashtag on -- do you use social media, Facebook,
8     Twitter, whatever it is?

9     A       A little bit, I'm not great with hashtags.
10    Q       Hashtags, one of the uses of a hashtag is to facilitate

11    searching, is that right?

12    A       I believe so.
13    Q       If I wanted to, you know, find out the latest news on

14    the FBI, I might enter in #FBI and that would help me find

15    FBI news, is that your understanding?
16    A       Yes.

17                MR. BURNHAM:     Court's indulgence.
18                I'd like to turn on the document camera here.

19                THE COURT:    I'm sorry, do you want to use the ELMO?

20                MR. BURNHAM:     Yes, please.
21                THE COURT:    Mr. Bradley can help you.

22                THE CLERK:    It's not powering.

23                THE COURT:    Well, I thought Mr. Bradley could help
24    you.

25                MR. BURNHAM:     I just have two documents to show the



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1     witness, I can do it by -- and I'm just going to identify
2     them and I'll move it in with my case, I'll just do it with

3     the documents so we can --

4                 THE COURT:    If you're comfortable doing that.
5                 MR. BURNHAM:     I've shown it to the Government, I

6     can just do it that way.       Can I approach the witness?

7                 THE COURT:    You may.
8     Q       I'm going to show you a picture and you just tell me

9     whether or not you recognize the individual on the right.
10    It's marked for identification, your Honor has the same

11    binder, Defense 3.      Tell me if it looks like Mr. Brock on the

12    right-hand side.
13                THE COURT:    This is Defense 3?

14                MR. BURNHAM:     Yes, your Honor, for identification.

15    A       Yes, it does appear to be Mr. Brock on the right-hand
16    side.

17    Q       And does that appear to be the -- I'll speak loud.
18    Does that appear to be the same jacket you later recovered

19    from his house?

20    A       It does appear to be the same or at least a very
21    similarly patterned jacket.

22    Q       I'll take it back.     Thank you.    I'm sorry, one more

23    question.      That appears to be a ski lift of some sort in that
24    picture?

25    A       Yes.



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1                 THE CLERK:    He said hold down on it.
2                 MR. BURNHAM:     It's all right, that's all I needed

3     to do for now, thank you.       I'll move on, for now.

4                 Again, going back to social media here, would you
5     agree that as a general matter, social media these days has

6     become famous for making people mad and making people get

7     into spats with one another; that's one of the criticisms of
8     it, is that right?

9     A       I've heard that criticism, yes.
10    Q       Can we take out -- can we pull up 904, please, one of

11    the Facebook messages.       Can we scroll all the way to the top

12    of 904, very top of the page, even if it's blacked out.
13    Okay.    Scroll down slowly if you would, and you can stop

14    there.    You recall this exhibit, correct?

15    A       I do.
16    Q       So there looks to be a page worth of content blacked

17    out, and I'm not alleging that's improper, I'm just observing
18    it's blacked out, right?

19    A       Mm-hmm.

20    Q       And then below that --
21    A       Yes, sir.

22    Q       Sorry, didn't let you answer.       Below that, it begins

23    with, "Torch Flyer replied to your comment," and then it goes
24    on, did I read that correctly?

25    A       That's correct.



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1     Q       So Torch Flyer is replying to a comment from Jeff
2     Ciaccio, is that right?

3     A       That's correct.

4     Q       And then the comment starts with, "No dude," and he
5     goes on to question whether Jeff Ciaccio was smart enough to

6     understand certain things.       Is that some of the content of

7     this message here?
8     A       Yes, it is.

9     Q       So it would appear that Jeff and Torch Flyer,
10    Mr. Brock, are engaged in a sort of back and forth that's

11    getting a little personal; would that be a description you

12    could agree with?
13    A       Yes.

14    Q       All right, thank you.      Have you ever been in an

15    internet argument where you said something you wished later
16    you could take back?

17    A       No.
18    Q       This same exhibit, we don't have to scroll to it, it's

19    already up there, refers to patriots in Athens in 1946; did I

20    read that correctly?
21    A       Yes.

22    Q       And you testified on direct that that refers to a

23    historical episode where World War II veterans stormed
24    National Guard armory to retrieve guns that were later used

25    to confront officials that they believed had committed



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1     election fraud.      Is that a summary of that historical
2     episode?

3     A       That's correct.

4     Q       Washington, D.C. has a National Guard armory in
5     addition to other military installations, is that right?

6     A       I would imagine they do.

7     Q       And that National Guard armory presumably has guns?
8     A       Yes.

9     Q       And Larry Brock did not attempt to storm that National
10    Guard armory to your knowledge?

11    A       Not to my knowledge.

12    Q       The next -- we can take that down, thanks.         Government
13    905, we don't have to bring it up unless you have trouble

14    recalling, has the statement from Torch Flyer where he says,

15    "If necessary I aim to misbehave."         Do you remember that?
16    A       Yes.

17    Q       Does that sound a little funny to you, little perhaps
18    out of context for him?

19    A       No.

20    Q       All right.    Have you seen the 2005 film Serenity
21    starring Nathan Fillion?

22    A       I have not.

23    Q       Are you aware that people that are good friends,
24    perhaps especially men with the risk of sounding gender

25    essentialist, sometimes speak to each other in movie quotes;



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1     is that something you're familiar with?
2     A       I am familiar with that.

3     Q       Thank you.    That same exhibit has #resist, if you

4     recall that in there somewhere?
5     A       It sounds familiar but I'd have to see the exhibit to

6     definitively say what was said by whom and when.

7     Q       There it is.    Do you see that there?
8     A       I do.

9     Q       Are you aware that #resist was actually a popular
10    hashtag throughout the Trump Presidency in what's called

11    liberal circles?

12    A       No, I'm not familiar with that.
13    Q       All right, that's fine.      Are you aware of where the

14    term Beaf Supreame might have come from?

15    A       I don't know where it came from.
16    Q       All right, one more silly question.        I'm not going to

17    belabor this but have you ever seen the film Idiocracy?
18    A       No.

19    Q       So I guess you wouldn't know whether or not Idiocracy

20    has a prominent character that goes by Beaf Supreame?
21    A       I don't know.

22    Q       All right.    Does the film Idiocracy sound like a

23    serious film about geopolitics to you, just going by the
24    title?

25    A       No.



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1     Q       Are you aware of -- well, strike that.         Can we pull up
2     907, actually.     Can we scroll down just a little bit, please.

3     All right, we can stop there.        Do you recall this exhibit?

4     A       I do.
5     Q       All right.    And here is an example of Beaf Supreame and

6     Mr. Brock talking about various things they might do such as

7     peacefully occupying legislatures to combat election issues,
8     is that a good summary?

9     A       That's correct.
10    Q       All right.    And here at the end, Beaf Supreame says,

11    "I'm pretty sure that I cannot get time off to go to another

12    state."    Did I read that correctly?
13    A       That's correct, that's the first sentence.

14    Q       Would you agree it's nothing but good sense that if

15    you're going to occupy a state legislature, you should
16    probably square it with your boss ahead of time?

17    A       As far as square the time off or the active occupying
18    the legislature?

19    Q       I'm sorry, I didn't hear you.

20    A       Are you saying would you square getting time off or
21    occupying the legislature with your boss?

22    Q       Getting time off.

23    A       You probably should, yes, square getting time off.
24    Q       We can move on, thank you.      Could we look at 909,

25    please.    Court's indulgence.



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1                 THE COURT:    Is this where you want to be or are you
2     trying to get to another --

3     Q       Just trying to center myself here, there was a passage

4     from this but I thought I could find it quicker than that, so
5     I don't have to trouble the Government to scroll for me.

6     Sir, can we look at the message, there's a message at

7     12/18/20, 16:32:19, that's the one I'm trying to look at.
8     There we go.     All right.    You see the message there,

9     16:32:19, do you see where I'm looking here?
10    A       I do.

11    Q       That message says, "Can you imagine if several hundred

12    thousand patriots descended on D.C. refusing to let Biden be
13    inaugurated," did I read that correctly?

14    A       You did.

15    Q       So the inauguration was not on January 6, is that
16    right?

17    A       That's correct.
18    Q       That was scheduled to take place on January the 20th, I

19    think, is that right?

20    A       That's right.
21    Q       Can we look at Number 910, please, the next one.

22    Before we get to this message, you're aware and I think we

23    even had some testimony about it, is that the Congress
24    reconvened on January 6th later that evening.           I can't

25    remember the time but it was late in the evening, do you



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1     recall that?     Or do you know that?
2     A       I do know that, yes, they did.

3     Q       And once they reconvened, excuse me, they sort of

4     picked up where they had left off around 2:00, is that right?
5     A       They finished, they finished what they were doing in

6     the early hours of January 7th.

7     Q       So early -- on January 6th in the morning they had made
8     it through a certain number of states and then there was the

9     interruption and then they picked up with the rest of the
10    states that evening; is that all correct based on your

11    knowledge?

12    A       Yes.
13    Q       And so the ultimate decision of whether or not the

14    results of the election were going to be certified didn't

15    take place until after the Capitol had been cleared and the
16    legislature had reconvened, correct?

17    A       Only because the Capitol had to be cleared, yes.
18    Q       So in other words, the answer is yes, the certification

19    didn't happen until later on, right?

20    A       That -- yes, that's correct.
21    Q       Because the Vice President and the legislature were not

22    going to be deterred from following the Electoral Count Act

23    as it was set forth, right?
24    A       That's correct.

25    Q       They didn't throw it out the window because of the



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1     interruption, right?
2     A       That's correct.

3     Q       All right.    So we've got 910 up here.      You recall this,

4     this is -- this is the, I guess we'll call it a
5     point-by-point plan that seems to be presented here, you

6     recall this, correct?

7     A       I do.
8     Q       All right.    And so in response to the messages from

9     Mr. Brock, Beaf Supreame raises a number of seemingly
10    sensible responses to what you would need to do if you wanted

11    to take over the government; would that be generally what

12    he's doing here?
13    A       Yes.

14    Q       He points out, for example, that you would need, it

15    would probably be a good idea to have a chain of command and
16    secure communications if you were going to pull off something

17    like that; is that part of what he says here?
18    A       That's correct.

19    Q       And you agree that Mr. Brock seems to agree that you

20    probably ought to have a chain of command and some
21    communication if you're going to have a revolution, is that

22    basically his response?

23    A       Yes.
24    Q       And at a certain point, feel free to refresh your

25    recollection, Mr. Brock says that this really isn't his area



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1     of expertise being a pilot or something to that effect,
2     correct?

3     A       I believe he said this wasn't what he was trained for

4     but if you can scroll down on the exhibit, I just can't see
5     that part right now.      Yes.

6                 THE COURT:    I think you're going past it now.

7     Q       It's right there if you want to read it.         I can ask it
8     more directly.     At 23:43:06 UTC time he says, "This isn't

9     what I was trained to plan," that's what Mr. Brock says, did
10    I read that correctly?

11    A       You did.

12    Q       Towards the end of this discussion, Beaf Supreame again
13    raises the sensible point that, an enterprise like this is

14    probably going to be pretty expensive, is that one of the

15    points he makes?      Feel free to ask, we can scroll down.
16    A       Yeah, could you scroll down, please.

17    Q       You can stop there, I'll ask the question directly.        At
18    12 -- 23:52:43 Beaf Supreame says, "Okay, first thing to

19    figure out is who is the source for op funds," did I read

20    that correctly?
21    A       You did.

22    Q       This exchange came after the plans had to be put on

23    hold for Mr. Brock to go take a shower, is that also correct?
24    A       That's correct.

25    Q       And eventually down there, Mr. Brock seems to agree



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1     that you ought to have some money to pull off a plan of this
2     nature; is that a good paraphrasing of what he says?

3     A       Yes.

4     Q       At any point in this conversation does either Beaf
5     Supreame or Mr. Brock come up with any ideas of where to get

6     billions of dollars or where it would come from?

7     A       I mean not with a concrete plan, just that they need to
8     find someone with the money.

9     Q       And what time -- I guess what time in Texas time would
10    be 00:29:52, the last message there?

11    A       It would be six hours ahead of that message so

12    6:29 p.m. on Christmas Eve.
13    Q       Well, this conversation begins on Christmas Eve, looks

14    like it ends on Christmas Day or at least Christmas Day in

15    certain time zones, would that be generally right?
16    A       Yes.

17                THE COURT:    Wait a minute, the time of 00:29:52 on
18    Christmas Day UTC is what time you're indicating?

19                THE WITNESS:     Your Honor, that would be 6:29 p.m.

20    on Christmas Eve.
21    Q       In Texas?

22    A       In Texas central time.

23    Q       Can we look at 916, please.       And can we scroll down a
24    little bit here until it gets to the messages from user

25    Shelley.    Okay, can we stop there.       Actually scroll up just a



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1     little bit to the "Shoot their way in" messages if you would,
2     thank you.      Little bit more.    Right there, thank you.       You

3     introduce this message here, part of which says from

4     Mr. Brock, "Men with guns need to shoot their way in."            Did I
5     read that correctly?

6     A       You did.

7     Q       And then Mr. Brock sends an attachment that refers to
8     police in D.C. in the next entry, do you see that?

9     A       I do.
10    Q       And then HRM Shelley responds, "Freaking Georgia."          Did

11    I read that correctly?

12    A       You did.
13    Q       Does a reference to Georgia seem a little out of

14    context in view of Mr. Brock's two previous messages?

15    A       No, I believe they're talking about the Georgia
16    election results which were being decided at that time.

17    Q       That's right, and men with guns need to shoot their way
18    in is referring actually to the counting of the ballots and

19    interference with Republican watchers alleged in Georgia,

20    right?
21    A       It could be, I'm not certain.

22    Q       Well, let me refresh your recollection on that.           If I

23    can just pull up the ... court's indulgence, I thought I had
24    it right here.

25                THE COURT:    Certainly.



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1                 MR. BURNHAM:     I think I can find it pretty quickly.
2                       (Pause in Proceedings.)

3     Q       All right, I think I've got it here, sorry for the

4     delay.    I'm just going to do this with my laptop, I'm
5     afraid -- I'm just refreshing recollection, what I'm -- for

6     everybody's -- I'm going to show the witness the unredacted

7     version of this and see if it refreshes his recollection, if
8     I can approach.

9                 THE COURT:    You're going to show him on your
10    laptop?

11                MR. BURNHAM:     I don't have -- I have to, it's a

12    little sloppy.
13                THE COURT:    Is this the transcript?

14                MR. BURNHAM:     No, this is this very same exhibit,

15    just unredacted, that's all it is.
16                THE COURT:    Okay.

17                MR. BURNHAM:     I'm just going to show him on my
18    laptop --

19                THE COURT:    Check with the Government, make sure

20    the Government is comfortable.        If they have an objection,
21    they'll make it.

22                MR. BURNHAM:     Can I approach, your Honor.

23                THE COURT:    You may.
24    Q       Agent Moore, I'm going to hand you my laptop here and

25    feel free to take as much time as you want but if you start



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1     with the highlighted portion that refers to pointing to here
2     and then just read down as much as you need.

3     A       Okay.

4     Q       Let me know when you've finished.
5     A       I'm finished.

6     Q       Thank you.    So now would you agree with me that the

7     statement meant -- well, first of all, did that refresh your
8     recollection?

9     A       It did.
10    Q       All right.    So now you would agree with me, wouldn't

11    you, that the, "Men with guns need to shoot their way in,"

12    post pretty clearly refers to a situation in Fulton County
13    involving Republican poll monitors allegedly being blocked?

14                MS. AYERS-PEREZ:     Your Honor, I'm going to object

15    to that, I mean he can certainly testify as to what messages
16    were around there but what it actually references, I think

17    that's something that would be speculation for him.
18                THE COURT:    Well, we'll let the witness respond to

19    the question as asked.       Go ahead and respond.      So the

20    objection, to the extent that was an objection, is overruled.
21    You may respond to the question.

22    A       The Facebook post that preceded that post about

23    shooting your way in was a post about election results in
24    Georgia.

25    Q       And specifically it was about, whether or not it



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1     happened is another question, but it was about Republican
2     poll monitors being blocked from overseeing the count,

3     correct?

4     A       I guess I -- I would need to see that again.
5     Q       You want --

6     A       Something about Fulton county, Georgia.

7     Q       I'll just let you take a quick look, if I can approach.
8     A       Sorry about that.     Yes, that's correct, it's about

9     Republican poll watchers.
10    Q       Thank you.    Would you agree that given the charges in

11    this case, that was some pretty important context for the

12    "men with guns" statement?
13    A       I don't believe it was left out to deny context, I

14    think it was left out out of -- redacted for anonymity for

15    other Facebook users.
16    Q       Do you recall testifying at a prior proceeding in this

17    case in Texas?
18    A       I do.

19    Q       All right.    And during -- that was a detention hearing

20    for Mr. Brock, correct?
21    A       Yes, I recall, yes.

22    Q       And feel free if you need to look at your testimony

23    I'll ask you just a couple questions about that.           You
24    didn't -- you make several references to the flex cuffs

25    pursuant to a government attempt to detain Mr. Brock pending



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1     trial, correct?
2     A       That's correct.

3     Q       All right.    And at no point did anybody, yourself or

4     the U.S. Attorney, inform the judge in Texas that there was
5     evidence that Mr. Brock had found those flex cuffs in the

6     Capitol, correct?

7     A       I would need to take a look at that transcript.
8     Q       Sure.   And I'll ask ... well, I'll ask one other

9     question and you can refresh your recollection as to both if
10    you'd like.

11    A       Okay.

12    Q       There was a statement not from you but from the U.S.
13    Attorney that perhaps he had those flex cuffs there to take

14    hostages, took them with him to take hostages, do you recall

15    that being part of the case for detention?
16                MS. AYERS-PEREZ:     Objection, your Honor, this has

17    no bearing on our actual case, what happened at a detention
18    hearing in Texas almost two years ago.          We haven't made that

19    allegation here, and we see video evidence and we've

20    stipulated actually to video evidence we stipulated that he
21    did pick up the flex cuffs later inside the Capitol.              We have

22    that footage now so I'm not sure what relevance this hearing

23    two years ago almost has on this.
24                THE COURT:    Well, I'm going to overrule the

25    objection, the Government's case did at several points have



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1     witnesses point out that he had, that Mr. Brock had flex
2     cuffs.    Now there was later clarification as to when he may

3     have acquired or how he may have acquired them, but it did

4     seem important to the Government witnesses to point out that
5     Mr. Brock had the flex cuffs so I'm not going to prohibit

6     questioning with respect to the reason the Government might

7     have at some point, and I understand that we're talking about
8     back at that time of the detention hearing, have thought

9     something in particular with respect to the flex cuffs.           So
10    you can go ahead, and first I'll say, Mr. Burnham, you can

11    ask the question, and then, Agent Moore, you can answer it.

12    Q       All right.    The first question is, just to recenter us
13    is, I'm asking you isn't it true that you participated in a

14    Government attempt to detain Mr. Brock during which the

15    allegation was made that he was carrying flex cuffs to
16    restrain hostages, and this was by the U.S. Attorney, not

17    yourself, and so I will let you look at the transcript and
18    I've got it on a page I think is the relevant page but if

19    you'd like to look around, you certainly can.

20                THE COURT:    So, so we're trying to put before me a
21    statement made by the U.S. Attorney in the detention hearing

22    that Mr. Moore was present at?

23                MR. BURNHAM:     And then there's going to be, that's
24    going to be the first question, then the second question is

25    going to be during his testimony did he ever let the judge



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1     know Mr. Brock found those cuffs there.          And I'll let the
2     witness answer, but I have an answer that I'm expecting and I

3     think it goes to the overall credibility of the investigation

4     and it ties in with other aspects of the Government's case
5     that we think --

6                 THE COURT:    I'll let you do it, go ahead.

7                 MR. BURNHAM:     Thank you.
8     A       Thank you.    (Witness reviewing transcript.)       So I've

9     read through the conversation by the AUSA about flex cuffs.
10    Q       All right.    Did that refresh your recollection?

11                THE COURT:    Well, why don't you take back the

12    document.
13    Q       Yeah, I'll take that.      Did that refresh your

14    recollection about that hearing?

15    A       Yes.
16    Q       All right.    So isn't it true that the AUSA made the

17    allegation that perhaps the flex cuffs were something
18    Mr. Brock brought with him perhaps to take hostages, as part

19    of the case, correct?

20    A       He also said, whether or not they were a fortuitous
21    find, it doesn't matter and he still walked around with them

22    for a significant amount of time, so I don't think that was

23    disingenuous.
24    Q       And in fact it's absolutely the case that they were

25    found there, that wasn't a whether or not, that's what



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1     happened; you'd agree with that, correct?
2     A       I agree that they were found, I can't agree to his

3     intent --

4     Q       And at no point -- I'm sorry, finish your answer.
5     A       He didn't immediately throw them in the trash, he

6     walked around in the Senate Chamber with a pair of flex cuffs

7     in his hand, so just like AUSA Jay Weimer said, whether
8     they're a fortuitous find or not, it's a concerning thing.

9     Q       And at no point in your testimony did you inform the
10    judge that in fact there was video evidence that he found the

11    flex cuffs there at the Capitol?

12    A       No, I did not.
13    Q       And being detained pending trial can absolutely destroy

14    a person's life, correct?

15                      That's all right, you don't have to answer,
16    can I have -- I withdraw the question.          Can I have a moment,

17    your Honor?
18                THE COURT:    Certainly.

19                      (Pause in Proceedings.)

20                MR. BURNHAM:     Thank you, your Honor, just a couple
21    more.

22    Q       Just a couple of housekeeping things I guess you would

23    say.    I think this is in evidence but you would agree that
24    the electoral session of Congress adjourned around 2:13 p.m.

25    in response to the first entrance into the Capitol?



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1     A       I'm not sure of the exact time but somewhere in that
2     neighborhood.

3     Q       Let me show you another document here that I've

4     previously shared with the Government, I'll remind them now.
5     I'm going to show you a document, and again, I'm just going

6     to have the witness identify it and then I'll move it in

7     later.
8                 THE COURT:    Is it marked?

9                 MR. BURNHAM:     Yes, it's marked for identification
10    in your Honor's binder as Number 5.

11                THE COURT:    Number 5, okay.

12    Q       I'm going to show you a document, ask you to read --
13    you can read as much as you want but I ask that you read the

14    second paragraph, please.       Let me know when you're done.

15    A       I've read the second paragraph.
16    Q       So first of all, does that appear to be an article

17    about politics from the internet?
18    A       It -- it does.

19    Q       Are you familiar with American Thinker?

20    A       I am not.
21    Q       Do you recognize that second paragraph as being quoted

22    in one of the exhibits from Facebook that we've put, that the

23    Government's put into evidence?
24    A       I mean, it sounds familiar to a lot of the rhetoric but

25    I would need to see the exhibit to make a direct link.



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1                 MR. BURNHAM:     Court's indulgence.     You know, I
2     don't want to waste the Court's time, I don't have that

3     exhibit number right at my fingertips, I don't know how --

4     I'll make the connection in my case if I need to.           Our
5     contention is it's a direct quote, I'll let your Honor look

6     at the two as soon as I can, I wasn't going to move it now

7     anyway so I'll withdraw the question for now.
8                 THE COURT:    All right.    Sounds fine to me,

9     Mr. Burnham.
10                MR. BURNHAM:     I can -- can I approach the witness?

11                THE COURT:    Yes.

12                MR. BURNHAM:     All right, thank you, no further
13    questions.

14                THE COURT:    Redirect?    Ms. Ayers-Perez?

15                MS. AYERS-PEREZ:     Briefly, your Honor.
16    REDIRECT EXAMINATION BY MS. AYERS-PEREZ:

17    Q       Agent Moore, I just have a couple of questions for you.
18    Do you remember the month that that detention hearing took

19    place in Texas?

20    A       January of 2021.
21    Q       Was it pretty soon after you had arrested Mr. Brock?

22    A       It was.

23    Q       Did you collect evidence on a continuing basis after
24    that?

25    A       Yes.



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1     Q       Did that include things like videos and things of that
2     nature?

3     A       Yes, it did.

4     Q       Would it be fair to say you learned a lot about the
5     case since then?

6     A       Since -- yes.

7     Q       Okay.
8                 MS. AYERS-PEREZ:     Okay.    That's all I have, your

9     Honor.
10                THE COURT:    All right.     Agent Moore, you may step

11    down.    I won't excuse you since you're permitted to stay in

12    the courtroom.
13                      (The witness was excused.)

14                THE COURT:    Ms. Ayers-Perez, further evidence from

15    the Government?
16                MS. AYERS-PEREZ:     Your Honor, Agent Moore's our

17    final witness.     We have a couple of housekeeping matters with
18    some exhibits prior to resting.

19                THE COURT:    First question I have is, are all the

20    stipulations in?      I don't think I've actually at least marked
21    a couple of them so I'm not sure that they've been

22    introduced, and should they be introduced?

23                MS. AYERS-PEREZ:     Yes, your Honor.      And so that
24    was -- I haven't marked, three of them have not been

25    introduced.



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1                 THE COURT:    703, 704, and 705?
2                 MS. AYERS-PEREZ:     That's correct, your Honor,

3     that's what I have been marked as not being introduced so I

4     would move to admit 703, 704, and 705 marked for the
5     Government at this time.

6                 THE COURT:    And they are stipulations so there's no

7     objection to them so I will go ahead and admit 703, 704, 705.
8     Any problem with that, Mr. Burnham?

9                 MR. BURNHAM:     Fine, your Honor.
10                THE COURT:    Thank you.    703, 704, and 705 are

11    admitted.

12                MS. AYERS-PEREZ:     And also there are some exhibits
13    in the 600 series we would move to admit.          These are just the

14    legal background as to the Electoral College and they go hand

15    in hand with the stipulations 702 that's already been
16    admitted at Government's Exhibit 702 and this is just to

17    complete the record, your Honor, and that would be 600, 601,
18    I'll just do 600 through 610.        And I also show that 613A, B,

19    C, D, and E as well as 614 did not get admitted and I would

20    move to admit those exhibits at this time.
21                THE COURT:    So 600 through 610 are actually to some

22    extent legal documents but you say that they're referenced in

23    the stipulation which is 702 did you say?
24                MS. AYERS-PEREZ:     Yes, 601 through 610 are the

25    legal documents and that goes hand in hand with Government's



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1     Exhibit 702 which is the stipulation regarding the Electoral
2     College proceedings and 600 is a video regarding what

3     happened in Congress that day which goes hand in hand with

4     Government stipulation, Government's Exhibit 703 which is the
5     stipulation to the authenticity of the House and Senate

6     recordings, and so I would move to admit 600 through 610

7     right now.
8                 THE COURT:    Any problem, Mr. Burnham, with 600

9     through 610 being admitted?
10                MR. BURNHAM:     No, your Honor.

11                THE COURT:    All right.    I will therefore admit 600,

12    601, 602, 603, 604, 605, 606, 607, 608, 609, and 610.
13                MS. AYERS-PEREZ:     And then also 613A, 613B, 613C,

14    613D, 613E, and 614, those are the CSPAN videos, 614 is CSPAN

15    video, 613A through E are just still shots from 613, 613 I
16    show was admitted yesterday at 2:00.         I would move to admit

17    those now as well to complete the record.
18                THE COURT:    All right.    So the description is 613A

19    through E are still shots from the 613 video that is in

20    evidence already; any problem with those, Mr. Burnham?
21                MR. BURNHAM:     No, your Honor.

22                THE COURT:    And then 614 is another video?

23                MS. AYERS-PEREZ:     Yes, your Honor, that's just a
24    continuation of 611, 612, and 613.

25                THE COURT:    Any objection to 614, Mr. Burnham?



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1                 MR. BURNHAM:     No, your Honor.
2                 THE COURT:    All right.     So 613A through E and 614

3     are admitted.

4                 MS. AYERS-PEREZ:     Okay.    All right.    That, your
5     Honor, at this time the Government would rest.

6                 THE COURT:    The only things not admitted would be

7     the beginning of the 300 series, 300 through 305.
8                 MS. AYERS-PEREZ:     Yes, your Honor.

9                 THE COURT:    And that one document earlier, I think
10    204 was never admitted.

11                MS. AYERS-PEREZ:     That's correct, your Honor, those

12    are correct.
13                THE COURT:    All right.     With that, the Government

14    has rested.     Mr. Burnham, I will turn to you.

15                MR. BURNHAM:     Thank you, your Honor.      Make a motion
16    to dismiss under Rule 29.       I'll make the motion as to every

17    element of every charge technically but I'll focus on the
18    ones that I think are most important and I'll take the counts

19    in order.

20                I think there's really two issues that present
21    themselves with respect to Count One which is the 1512

22    obstruction count.      One is, it's an undisputed fact of this

23    case, even taking the evidence in the light most favorable to
24    the Government, that Congress had already adjourned by the

25    time Mr. Brock entered the building, and I think it can be



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1     pretty clearly inferred that it adjourned before he got even,
2     even at all close to the building.

3                 THE COURT:    He entered at 2:24.

4                 MR. BURNHAM:     2:24, and Congress adjourned at 2:13.
5     So even with taking all the inferences most favorable to the

6     Government, I think the court should conclude that at 2:13,

7     Mr. Brock was probably at least several hundred yards from
8     the building.     And so by the time he got there, there was no

9     proceeding left to attempt to corruptly influence, impede and
10    so on and so forth.      Unless the Government can make a case

11    that he could somehow attempt to impede the proceeding in the

12    future, there's no crime here.        Perhaps we'll hear when the
13    Government has a chance to respond, the argument may be,

14    well, the fact that there was so many people there meant they

15    couldn't reconvene as quick as they wanted to because they
16    had to get all those people out.        But then the question

17    before the Court becomes, does one more person being in the
18    Capitol constitute anything other than a de minimus

19    obstruction.     We suggest even at the Rule 29 stage it

20    doesn't.    That's one problem.
21                The second problem is, is that there's the question

22    of intent that was previewed to the Court in opening

23    statements.     And you know, here, we get into the Facebook
24    messages that are in evidence.        Well, I guess there was one

25    that was conditionally admitted, perhaps I should ask for the



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1     Court's ruling.
2                 THE COURT:    I need to go back to that and I will go

3     back to that perhaps just to clarify it.          Based on -- I

4     conditionally admitted 902 and that was to see what the rest
5     of the Facebook-related exhibits would be and having reviewed

6     and decided on them, I will remove the conditional aspect of

7     that admission of 902 and it is admitted unconditionally.
8                 MR. BURNHAM:     So that's I guess the most direct

9     evidence of intent that we have.        The court can of course
10    infer and all those inferences go in favor of the Government

11    at this stage but let's take the direct evidence that we

12    have, and I think that the thought process at Rule 29 is,
13    let's take all of those messages as literally true, not

14    hyperbole, not blowing smoke, like really true, which is the

15    view most favorable to the Government.          Even then, what's set
16    forth is that we really, really hope Congress acts, and if it

17    doesn't act, maybe we'll take over the government.            But the
18    hope expressed in those messages was that the Congress would

19    have the opportunity to correct the fraud that Mr. Brock

20    seems to have believed occurred, and then revolution, if they
21    didn't do that.     So all of the talk about revolution and so

22    on and so forth is sort of plan B if Congress doesn't act

23    which means it's not relevant to the question of is there
24    intent here to obstruct the electoral count, and so I would

25    argue even at the Rule 29 stage that Facebook posts are



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1     highly exculpatory even when taken in the light most
2     favorable to the Government.        So really two problems with

3     Count One.     No obstruction and no corrupt intent.

4                 Count Two and Three, I'll start with -- Count Two
5     and Three to a certain extent can be taken together because

6     they both are 1752 charges that have some common elements.

7     So with respect to both of those, our contention is that at
8     least by the point that Mr. Brock arrived on the scene, the

9     Capitol grounds were not legally restricted.           Certainly they
10    were restricted in a platonic sense and that that was the

11    intent of law enforcement that day, we saw a diagram.

12                THE COURT:    You're talking about the grounds.
13                MR. BURNHAM:     The grounds, the grounds.       There was

14    the perimeter, I don't dispute that it was the intent of the

15    Capitol Police and others to restrict the grounds both
16    practically and legally.       But the way the cases treat that

17    element, and this is the individual being prosecuted has to
18    be on notice of the restriction.        And there's not a ton of

19    cases on this but the one that I think is helpful is McCabe

20    v. Macaulay, 51 F.Supp.2d 944, and that -- there's a case
21    before that, Bursey, which was a Fourth Circuit case that's

22    persuasive but I think it makes sense that basically says

23    even if there's not a fence, if officers tell you you have to
24    leave, that's a restriction even though might not seem like

25    one, and then McCabe v. Macaulay is sort of the logical



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1     consequence of that is, if there's not a fence or something
2     and the defendants aren't on notice, then it's not legally

3     restricted and sort of a weird procedural posture in that

4     case but the ultimate holding was there was no probable cause
5     to arrest for 1752 because the defendants didn't know it was

6     restricted and then when the officer said it was restricted,

7     they left so that's the takeaway there.          So the question even
8     at Rule 29 is, where's the evidence that Mr. Brock was on

9     notice that he was entering a legally restricted area?            And
10    so there's --

11                THE COURT:    And you're still talking about the

12    grounds at the moment.
13                MR. BURNHAM:     The grounds and the building.

14                THE COURT:    Or talking about the building as well?

15                MR. BURNHAM:     I guess in theory the restriction
16    could be anywhere as long as police communicated to Mr. Brock

17    that he wasn't supposed to be there, either on the grounds or
18    as he was coming up or at the door.         Taken in the light most

19    favorable to the Government, they don't need to do it at a

20    specific time, there just has to be something, and we don't
21    have any evidence that Mr. Brock would have seen the

22    barriers, let alone participated in removing them.            There's

23    no evidence that any officer, whether, whether when he was
24    entering the grounds or whether when he was entering the

25    building said, you're not supposed to be here, it's



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1     restricted, you have to leave.        Just didn't happen.         In fact
2     the evidence is he happened to walk through the door at the

3     little five-minute interval where there weren't any officers

4     there to tell him that.
5                 And so then for 90 percent of the video that has

6     him walking around the Capitol, there's no officers there,

7     and then towards the end, he encounters some and there's no
8     sound so we don't know what they said but the conduct of

9     Mr. Brock and the officers, I think even in the light most
10    favorable to the Government, shows that he did leave

11    voluntarily well before the building was ultimately cleared

12    and without offering resistance to the officers, you can see
13    that especially in the final video where he walks out under

14    the supervision of officers.        So the question is where is the

15    restriction.     I just don't see it anywhere here.
16                THE COURT:    So would there be a restriction for the

17    fifth person in line who was standing behind the first four
18    people who broke windows and pushed open the door to enter

19    the Capitol?     So what about that fifth person, would that

20    fifth person have a restriction relevant to them?
21                MR. BURNHAM:     If the fifth person had seen the

22    windows being broken, I think there would still be --

23                THE COURT:    How about seeing glass on the floor?
24                MR. BURNHAM:     Well, if there's evidence to permit

25    the Court to find that there was glass on the floor, that



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1     might support a restriction but I think even at the Rule 29
2     phase, it doesn't get you all the way there, if that's all

3     you have.    I mean the case -- what we're looking for is a

4     sign, a fence, an officer saying get out of here.           Glass on
5     the floor is not a -- I would argue that even that doesn't

6     get you anywhere close to a legal restriction.           There's

7     certainly no case that would support a restriction based on
8     glass on the floor, especially since --

9                 THE COURT:    What about someone who's in the mob,
10    shall we say, who saw from behind them, not the front rank,

11    the barricades being breached, police lines being parted,

12    pushed aside, and then going up to the Capitol and going into
13    what had been a closed building?        Are you excusing everyone

14    who's in the large gathering because when they actually got

15    to the Capitol doors, others had already breached them?
16                MR. BURNHAM:     If someone witnessed other protesters

17    fighting with police or physically against police will
18    removing the barricades, that would be legally restriction,

19    there's no question about it, I would agree with that, but I

20    don't think that's the case here.         There's no evidence for
21    the Court, from which the Court can infer that Mr. Brock

22    witnessed that; in fact the evidence is opposite.           He was

23    probably pretty far back.       I mean you could sort of infer
24    that from when he entered, the time, and secondly, the one

25    little snippet -- we only have one little snippet of his



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1     approach, that's it, that's the video where you can see the
2     back of his helmet for like very briefly is the only evidence

3     we have of how he got from -- we have him walking down

4     Constitution, and then the record goes dark and then you see
5     his helmet very briefly so we got to look at that video of

6     the back of his helmet and see what, if anything, does that

7     tell us and I think it's exculpatory because he's very far
8     back at that point from the entrance.         You can watch the

9     video, there's no view of the barricade, in fact one of the
10    officers even admitted you can't see that portion, it was

11    Officer Patton who admitted you can't see that portion from

12    downstairs which is where that video was shot and you can see
13    how thick the crowd is and how loud they were.           There's every

14    reason to infer from that video that Mr. Brock would not have

15    had any opportunity to witness the destruction of those
16    barriers.    So that's, I think that's the correct finding even

17    at Rule 29 there.
18                Now, the fallback that your Honor has already

19    telegraphed, maybe we'll hear this from the Government, was,

20    well, he had to have seen the broken glass or he had to have
21    seen a broken window, there's no way he didn't, and I think

22    even in Rule 29 that argument doesn't wash because you can

23    see when he walks in, he's not looking from side to side, it
24    doesn't happen.     And even if he had looked from side to side,

25    the glass panes are completely removed at that point, there's



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1     no shards, there's no like partial windows, certainly there's
2     no one there still trying to take him out, so it's not

3     something the court can conclude he would have legally been

4     on notice of.     The broken windows and the glass is hard to
5     see, I even had to watch the video several times to notice

6     it, it's off to the side.       Obviously glass is opaque, it's on

7     the floor --
8                 THE COURT:    We see more than he saw because we see

9     it actually at one point large plates of glass being cleared
10    by an officer pushing it aside with his foot.

11                MR. BURNHAM:     Before and after the fact, that's

12    right.    So I think if there was even a glance to the side,
13    you know, by Mr. Brock towards the direction of the glass, I

14    might have a much harder time but we don't have that, so

15    there's nothing even at this stage to conclude that he would
16    have seen the glass.      I think that's the situation here.

17                So that would be, if the court agrees with that
18    argument, doesn't need to go any farther on Counts Two and

19    Count Three but just for the record, specifically as to, I

20    think this really applies more to Count Three, I'm not seeing
21    the disorderly conduct here.        There's no yelling, you know,

22    there's no -- he's not participating in chants.           Obviously

23    we've emphasized when he tries to maintain order, that
24    happened four times, there's no pushing and shoving, he's not

25    carrying a sign, he's not acting crazy the way some of the



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1     people were.     It's not simply enough to enter a restricted
2     area to be guilty of Count Three, you have to then do

3     something that's likely to cause a disruption and I don't see

4     that with Mr. Brock at all, in fact quite the contrary.
5                 THE COURT:    Well, the term is disorderly or

6     disruptive conduct.

7                 MR. BURNHAM:     That's right.
8                 THE COURT:    Disruptive conduct as defined in the

9     relevant provisions is disturbance that interrupts an event
10    or activity or the normal course of a process.           So you're

11    saying that that wasn't the case.

12                MR. BURNHAM:     Simply entering can't be enough
13    because it can't be coextensive with entering the restricted

14    area.

15                THE COURT:    Well, he didn't enter alone, he entered
16    with a vast number of other people.

17                MR. BURNHAM:     Yes, your Honor.     It's not a
18    conspiracy case, and if the allegation is aiding and

19    abetting --

20                THE COURT:    But it's not irrelevant that he was one
21    of many.

22                MR. BURNHAM:     Well, if inherently entering is one

23    of many, I think even under the definitions your Honor cited
24    which are correct is he would have to be aiding them in some

25    way or approving of their conduct or assisting to have him be



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1     culpable for himself engaging in disorderly conduct.              If the
2     allegation is merely entering itself with a large number of

3     people is disorderly conduct, there's not a case on this but

4     just based on the plain language of the cases we do have --
5                 THE COURT:    Not disorderly, disruptive.

6                 MR. BURNHAM:     Disruptive conduct, we're looking for

7     something -- it doesn't have to be a lot, I'm not saying he
8     had to be smashing things but something to disrupt the

9     function of government business other than just walking
10    around which is the same thing the journalists were doing.

11    We know journalists were there that day, some people were

12    manifestly journalists in the video, they were walking
13    around, they contributed to the number.          There were invited

14    guests, that contributed to the number of people but they

15    obviously wouldn't be included, and so unless the Government
16    can point to something saying this is an action Mr. Brock

17    took that was disruptive and went beyond merely entering,
18    even under Rule 29 is a problem with that count too, I would

19    maintain.

20                THE COURT:    What else?
21                MR. BURNHAM:     Count Four, willfully entering the

22    floor of Congress, that has to be done willfully and we don't

23    have any communication to him that that was unauthorized for
24    him to be there.      He did not participate in the, you know,

25    there was, the testimony from Officer Timberlake --



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1                 THE COURT:    Your problem is that he didn't know
2     that it was without authorization?

3                 MR. BURNHAM:     That's right, that's right.          There's

4     testimony from, I guess the closest thing to that would be
5     the testimony from Officer Timberlake and he testified that,

6     you know, he's there, he's trying to secure the doors and

7     then he gets into the confrontation so obviously those people
8     would have been on notice that they weren't supposed to go in

9     there because the officer -- I mean, he was in plain clothes
10    and it could be an issue if it needed to be but I don't think

11    it needs to be, is the officer was physically trying to stop

12    those people from going in.        And then there's the scuffle and
13    you can see Mr. Brock coming in from a different section, he

14    walks into the side of the video from some other part of the

15    Capitol, not adjacent to where the scuffle had taken place,
16    and by the time he comes in the video, it wouldn't have been

17    apparent what the subject of the dispute was because both the
18    officers and their antagonists had moved down the hall

19    significantly away from the door there.          And there's no -- I

20    mean Officer Timberlake didn't testify he told Mr. Brock, you
21    guys can't go in there or those guys, I was trying to keep

22    them out and they tried to force their way in or anything

23    like that, he didn't have those statements so that's the
24    problem with number four.

25                Count Five is a different version of disorderly



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1     conduct, very similar under 5104, and then finally, Count
2     Six, parading, demonstrating, or picketing.          This is another

3     one where there's not a ton of case law that I was able to

4     find to help with that but just the plain meaning of those
5     words, I would submit we're looking for waving banners, we're

6     looking for participating in chants, we're looking, guy with

7     the horns on the bull horn, he would clearly qualify, but I
8     didn't see any footage where --

9                 THE COURT:    So if there are ten people, it's the
10    two with the banner that could be convicted under that

11    provision but not the eight who aren't holding the banner?

12                MR. BURNHAM:     Not if they don't appear to be acting
13    in concert.     If there's one guy with a banner and eight

14    people following along behind, certainly that's parading, but

15    if there's a guy with a banner over here and Mr. Brock is
16    just doing his own thing looking at his phone, taking

17    pictures, doing whatever, he's not answerable for the guy
18    with the banner unless there's some sort of concertive action

19    there would be our position.

20                Thank you, your Honor, ask for brief response if
21    appropriate.     Thank you.

22                THE COURT:    Thank you, Mr. Burnham.       Let me hear

23    briefly from the Government.
24                MS. AYERS-PEREZ:     Yes, your Honor.      As to Count

25    One, the obstruction of the official proceeding, Brock was



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1     part of a mob that, and it was, we've heard from Agent
2     Glavey, we've heard from Captain Patton, it was that mob

3     breaching the Capitol that caused the official proceedings to

4     both recess, and I would point out that although the Senate
5     recessed at 2:12 --

6                 THE COURT:    Well, it wasn't the mob outside that

7     caused the recess, it was --
8                 MS. AYERS-PEREZ:     It was the breach.

9                 THE COURT:    -- when there was a breach.
10                MS. AYERS-PEREZ:     Right.    And Larry Brock is part

11    of a breach in the sense that he did breach the Capitol at

12    2:24 p.m.    The House did not recess until 2:29 p.m. when
13    Brock had been inside the Capitol for five minutes at that

14    point.    And there's also an aiding --

15                THE COURT:    Is that what this turns on, my finding
16    the time that there was a recess by either the House or the

17    Senate --
18                MS. AYERS-PEREZ:     I don't believe -- I'm sorry.

19                THE COURT:    Let me finish.

20                -- and if Mr. Brock entered the Capitol before that
21    time, then the obstruction charge may survive, but if he

22    entered after that time, it cannot?

23                MS. AYERS-PEREZ:     No, I don't believe so --
24                THE COURT:    That's their argument basically.

25                MS. AYERS-PEREZ:     I understand that.      I think in



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1     this case that's just another thing that I'm pointing out to
2     your Honor, that the House didn't even recess until he'd been

3     inside the Capitol for five minutes.         Even if that wasn't the

4     case, and it's the case here, but even if it wasn't, he's
5     part of this violent mob that's breached the Capitol

6     building.    And under the aiding and abetting provision of

7     Count One, he's responsible for what's happening in this mob.
8     I understand that he entered 12 minutes after the initial

9     breach of the Senate Wing Doors, but he's still part of that
10    mob pushing through, and as we saw from that time lapse

11    video, this is a significant group of people with a

12    significant police line in front of them, between them and
13    the Capitol, and there's obviously just a huge ton of people

14    there, including Brock, and so it does take people time to

15    get through, and so yes, he's 12 minutes later, but he's
16    still responsible for what the mob did because he's part of a

17    mob.    That's how a mob works.      It exists because of the
18    numbers.    And you know, we've heard from officers about how

19    outnumbered they were, well, that's because it's a mob.           Not

20    everybody has the same role in that mob, not everybody's
21    smashing the glass with a flagpole, not everybody's holding a

22    sign, but those people can do that because the mob exists and

23    they provide them cover in the number of people and Brock is
24    a part of that.     And he's responsible.

25                THE COURT:    I'm surprised that this issue hasn't



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1     been addressed by some judge on this court over the past
2     couple of months, is this an unaddressed issue?           Has this not

3     been argued in some other case that someone who just came in

4     isn't individually responsible for obstructing?           Or to employ
5     Mr. Burnham's argument, if you came in after a recess of the

6     proceedings, then you can't be charged with obstructing the

7     proceedings.
8                 MS. AYERS-PEREZ:     And your Honor, this is a quote

9     from Judge Kollar-Kotelly and it's actually a metaphor about
10    the mob that, "Just as heavy rains cause flood in a field,

11    each individual raindrop itself contributes to that flood.

12    Only when all of the floodwaters subside is order restored to
13    the field.     The same idea applies in these circumstances.

14    Many rioters collectively disrupted Congressional proceedings

15    and each individual rioter contributed to that disruption."
16    And in this case, the defendant's name is Rivera.           "Because

17    Rivera's presence and conduct in part caused the continued
18    interruption of Congressional proceedings, this court

19    concludes that Rivera in fact impeded and disrupted the

20    orderly conduct of government business or official
21    functions."     And I think that --

22                THE COURT:    And how about the term "continued

23    disruption" meaning that it doesn't matter, I take it, from
24    Judge Kollar-Kotelly that the exact timing of one's conduct,

25    if it continued to interfere with Congress from completing



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1     its proceedings?
2                 MS. AYERS-PEREZ:      Right, your Honor.     I mean this

3     is -- this is a continuous course of action that began from

4     the first or even before the first breach when the restricted
5     area was breached into the first breach of the Capitol until

6     they were finally able to clear them out as we've heard from

7     our witnesses, and begin the Congressional proceedings again
8     and that was late into the evening to the point where of

9     course they finished the next morning.
10                THE COURT:    Okay.

11                MS. AYERS-PEREZ:      And so that's in response to

12    defendant's argument as to Count One.         Because of the aiding
13    and abetting provision and because of what we just discussed,

14    I do think we've reached the standard to get past this Rule

15    29 when it comes to Counts two and Three in the restricted
16    area.    We've heard from Captain Patton, there were signs,

17    there was snow fencing, there were bike racks, and the
18    evidence we've seen of the defendant, there are people

19    climbing a scaffolding next to him when he enters through the

20    Senate Wing Doors, the windows are broken out.           Even if, even
21    if, and I'm not conceding this but even if you believe that

22    he didn't see the glass, there are people climbing through

23    the windows next to him.       When he enters in, there's not a
24    ton of people right there, but you can see people climbing in

25    the windows right next to him, and he knows that people are



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1     not supposed to be climbing in the windows next to him.           When
2     he's next to the east Rotunda door before he picks up the

3     flex cuffs and heads up to the third floor where the Senate

4     Gallery is, there are officers standing in front of the door
5     trying to stop more people from coming in.          There is a broken

6     window on that east Rotunda door that he's standing two feet

7     away from.     He then turns around, grabs flex cuffs and walks
8     up the stairs to the Senate Gallery.         He knows --

9                 THE COURT:    But we've merged two things here, we've
10    merged the building and the grounds.

11                MS. AYERS-PEREZ:     Right.

12                THE COURT:    Stay with grounds for just a second.
13                MS. AYERS-PEREZ:     We've heard from Capitol Patton

14    all of the signs that were along those grounds.           We've seen

15    the actual signs there, and the bike rack, and the snow
16    fencing behind it, and he's part of the group that pushed

17    through all of these blockades around this perimeter that we
18    know were in place because Captain Patton walked the

19    perimeter that morning for the entirety of that perimeter.

20    And so he would have to walk past this stuff, even if a bike
21    rack is on the ground when he walks past it, it's still

22    there, you still see it, even if a sign is on the ground,

23    it's still there, it's still says area closed.           These signs
24    weren't there every once in a while, they were there every

25    other bike rack, and he walked past those, he walked past



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1     every single one of those perimeters there on the west side.
2     He had to of to get to where he ended up.

3                 THE COURT:    All right, back to the building.

4                 MS. AYERS-PEREZ:     And back to the building, your
5     Honor, once inside, you're seeing people climb through a

6     window next to you on the left side and on the right side,

7     you're next to the east Rotunda doors which are broken out on
8     the window that's closest to the defendant, is broken, there

9     are multiple officers standing by the doors trying to stop
10    the mob from getting in, and he still continues on.               At this

11    point he hasn't gone on the Senate floor yet, he ends up in

12    the Senate Gallery.      Sergeant Timberlake tells us he's
13    involved in an altercation with other rioters.           Larry Brock

14    saw this because he breaks it up, and he doesn't break it up

15    and leave, he breaks it up and then goes out onto the Senate
16    Gallery.    He leaves there, he grabs a set of keys to try to

17    open the Senate floor doors, the doors say U.S. Senate on
18    them so he knows where he is.        He's also been up above that,

19    so he's looking down and knows where he's at.           He goes

20    directly down there to the Senate floor.          We're getting into
21    Count Four -- or Count Four at that point.          But there are

22    sign after sign after sign.

23                THE COURT:    By the way, you've offered something
24    that I don't think is in evidence, at least I don't recall

25    it, which is what the items that he was using to try to open



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1     that door were.     You just said he grabbed the Senate keys.
2                 MS. AYERS-PEREZ:     Or I said he grabbed some keys.

3                 THE COURT:    Is there evidence that says what it

4     was, where he got it?
5                 MS. AYERS-PEREZ:     We had a witness who said that

6     he -- it looked like a set of keys, we don't have the keys,

7     as Agent Moore testified they didn't find them there in the
8     execution of the search warrant, but we did have when the

9     witness --
10                THE COURT:    Which witness, just so I can find it

11    again because I didn't recall that, which witness says that

12    it looked like the Senate keys?
13                MS. AYERS-PEREZ:     It was Captain Patton.

14                THE COURT:    All right, I'll check that.

15                MS. AYERS-PEREZ:     That's as we were going through
16    the video footage with him.        But yes, and at that point he's

17    trying to get into a locked door, it says U.S. Senate on it.
18    I mean there's sign after sign after sign that you're not

19    supposed to be inside this building, besides the obvious that

20    you're part of a mob that's overtaken a building.           You
21    understand what a public building is, that you have to go

22    through security.      He had no issue going through security

23    today, you understand that that's a process you go through.
24    He went through a broken door, with people climbing windows

25    next to him.     He sees officers in multiple locations, either



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1     in altercations with rioters or trying to keep rioters out
2     and he continues his path through the Capitol on to the

3     Senate floor after seeing all of this.          It's clear that this

4     is a restricted building and he's not supposed to be inside
5     of it.    That's after going through all the signage on the

6     restricted grounds that he's not supposed to be on, and he

7     continues on throughout it.
8                 THE COURT:    All right.    Go ahead.

9                 MS. AYERS-PEREZ:     And then when it comes to Count
10    Four and the Senate floor, first he's trying to get into a

11    locked door that says United States Senate on it, and then he

12    turns around and goes through another door and ends up there
13    in the Senate Chamber.       He had previously, just about five

14    minutes prior, been in the Senate Gallery looking down

15    directly onto the Senate floor and goes directly down there,
16    as soon as he realizes what's below him and where he's at and

17    he has oriented himself with the Capitol, and he stays on the
18    Senate floor going through desks, walking through the Senate

19    floor for about eight minutes, I believe.          It wasn't walking

20    in realizing, oh, no, and walking back out, no.           He spent, he
21    spent a good chunk of time in there.         And then once he was on

22    the Senate floor, he left the building, because that was his

23    intention in being there.       So he knows that's the Senate
24    floor, he knows that he had tried to get into a locked door,

25    was unable to and goes around to another door that's



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1     unlocked, and then stays there for a period of time while
2     proclaiming this is an IO war and things of that nature.             He

3     knows to the point that the President of the Senate is Vice

4     President Pence and where his chair is so he can tell other
5     rioters what it is they're sitting in or looking at.              So this

6     isn't -- he didn't just stumble there and not understand

7     where he's at.     Larry Brock knows exactly where he was.
8                 And when it comes to the disorderly or disruptive

9     conduct, he and the rest of the mob disrupted the proceedings
10    that were happening there by being there, by marching

11    through.    He was on the Senate floor where the proceeding was

12    supposed to be taking place, and wasn't, because they were in
13    the building, not just on the Senate floor, and then he's

14    standing there where it's supposed to be happening.

15                THE COURT:    Well, so here's my question on that.
16    There are two different charges, one is entering and

17    remaining on the floor of Congress, or entering or remaining
18    in a restricted building and grounds, and the other is

19    disorderly or disruptive conduct in restricted building or

20    grounds or in a Capitol building, those are four of the
21    counts, two for each.       What's the difference between the

22    disorderly conduct counts and the entering counts?            Is anyone

23    who entered the Capitol building also guilty of disorderly or
24    disruptive conduct on that date in the Capitol building?

25                MS. AYERS-PEREZ:     When you enter as part of a



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1     violent mob, then yes.
2                 THE COURT:    So your answer is yes, everyone who

3     entered the Capitol on that date is guilty not just of

4     entering but also of disorderly or disruptive conduct in the
5     building.

6                 MS. AYERS-PEREZ:     The mere, and we've heard this

7     from our witnesses, the mere fact that the Capitol was
8     breached and people were inside is what disrupted the

9     proceeding, and part of the disruptive definition is that it
10    disrupts the orderly course of business or official business.

11    And in this case, it disrupted the counting of the Electoral

12    College votes.     Certainly the way Larry Brock entered with
13    the violent mob of people and the way he went through the

14    Capitol building certainly disrupted the proceedings and to

15    add to that, of course he's standing where the proceedings
16    were supposed to be taking place.         So certainly with Larry

17    Brock, he would have violated both the entering and the
18    disruptive conduct as he's inside which is as part of this

19    mob that's stopped the official proceeding.

20                THE COURT:    So just -- so someone who entered let's
21    say not when Mr. Brock entered but 15 minutes later, at 2:39,

22    and came in and was there for about 90 seconds, looked

23    around, then said to him or herself, Jeez, maybe I shouldn't
24    be here and turned around and walked out, in your view, they

25    would be guilty not just on the entering concept, but also on



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1      the disorderly or disruptive conduct because of what was
2      happening around them by the rest of the mob?

3                  MS. AYERS-PEREZ:     In -- every case is different,

4      there are facts and circumstances for every case, I don't
5      want to tie the Government to --

6                  THE COURT:    But judges like to ask hypotheticals of

7      counsel and I'm asking you that hypothetical.
8                  MS. AYERS-PEREZ:     Yes, your Honor.     And I would

9      believe in that case, yes, that he would be responsible for
10     disruptive conduct within the building.

11                 THE COURT:    Which I think is returning to the point

12     that no one who entered the Capitol on that date is not
13     guilty of the disorderly and disruptive charges as well as

14     the entering and remaining charges.

15                 MS. AYERS-PEREZ:     For people who entered the
16     Capitol on that date, just the mere entrance of the mob

17     caused the disruption, so if you're part of the mob, you're
18     part of that disruptive conduct.        And not just entering, but

19     also then disrupting the proceeding that took place because

20     it wasn't just one person, it was everybody, and you're a
21     part of everybody.

22                 THE COURT:    And do you think the evidence shows

23     that Mr. Brock was unreasonably loud or disruptive or
24     interfered with another person by jostling against or

25     unnecessarily crowding that person?



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1                  MS. AYERS-PEREZ:     He was part of a crowd and group
2      that's going through the Capitol, went through about every

3      area you could get through, he's screaming on the Senate

4      floor, he's screaming in the Senate Gallery.
5                  THE COURT:    He's screaming?

6                  MS. AYERS-PEREZ:     He's yelling at other rioters and

7      in the Senate Gallery he's yelling at them about not to --
8      not to damage anything and on the Senate floor he starts by

9      saying this is our house, he then says that this is an IO
10     war, to get out of the Vice President's chair but he's --

11                 THE COURT:    So two out of the three things you just

12     said were basically telling other rioters not to do bad
13     things.

14                 MS. AYERS-PEREZ:     It's true, but he's still causing

15     a disruption as he does it.       And we've already seen from his
16     Facebook post why he's telling them that.

17                 THE COURT:    Yeah, my guess is that the language,
18     the definitional language for disorderly conduct, the

19     unreasonably loud and disruptive was written having in mind

20     someone who was doing something during a Congressional
21     proceeding and interfering with that Congressional

22     proceeding, but I understand your argument.

23                 MS. AYERS-PEREZ:     Yes, your Honor, and I think, I
24     think I've responded to all of the defendant's points on

25     Counts One through Six, or the entirety of the indictment.



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1                  THE COURT:    All right.    Mr. Burnham, anything you
2      want to say in response?

3                  MR. BURNHAM:    Yes, just a few specific things.       As

4      to Count One, certainly other judges, you know, have denied
5      motions similar to mine to Count One but there's absolutely

6      no controlling authority on that question and I think it's

7      only natural with the unorthodox use of heretofore kind of a
8      sleepy statute, that the members of this court might come

9      down differently.     And I have great difficulties with the
10     reasoning of, well, there was a mob, and whoever joined the

11     mob is answerable for all of the consequences that ensued

12     when evidence in this case even shows this "mob" was composed
13     of discrete groups of people doing very discrete types of

14     things.    There was everything from out-and-out miscreants

15     behaving abominably to people who seemed to be befuddled and
16     a little confused by their situation.         So I think the

17     reasoning of, well, there was a mob, and he was in the mob so
18     he's answerable is overly simplistic and not the intent of

19     the statute.

20                 THE COURT:    But that may be right although the
21     response, it would seem to me, is that the mob had at least

22     seemed to have a common purpose, and that was to prevent the

23     certification of the election, to interfere with that
24     process, and they took a common action to try to accomplish

25     that, which was entering the Capitol grounds and then



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1      entering the Capitol building.
2                  MR. BURNHAM:    I don't agree at all, your Honor, I

3      think you could see even in the evidence in this case, try to

4      put out of our minds everything else, we know there was a
5      disparity of purposes.      There were people who were just

6      trashing things that I suppose were just interfering --

7                  THE COURT:    That doesn't speak to their purpose,
8      because their purpose wasn't to trash things, their purpose

9      was to stop a proceeding and they were trashing in order --
10     along the way to accomplish that.

11                 MR. BURNHAM:    But there was another group of people

12     of whom Mr. Brock was a member that wanted the proceeding to
13     function effectively and to achieve the right result.

14     Mr. Brock wanted the Electoral College proceeding to proceed,

15     he was in support of that.       The Government's witnesses all
16     testified there's a process for making objections, they're

17     debated, and slates of electors can be rejected.           Some people
18     thought it could be sent back to the states and Mr. Brock and

19     many others manifestly were supporting that process.              They

20     were there to support the Senators, the Congressmen making
21     those objections and they wanted an ultimate legal result of,

22     in many cases, rejecting the purported Biden victory in favor

23     of at least investigating the fraud.         So they were there
24     supporting the Electoral College.        So I distinguish those

25     people from the riffraff, breaking things, acting crazy, you



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1      know, fighting with law enforcement, who knows what was in
2      their minds but those people were criminals.          There was

3      another group of people that was not that at all, at all.

4      And that's why I think that, well, was he in the mob is not
5      the right analytical framework at all for Count One.

6                  Technical point, but I would argue that once the

7      Senate, Mr. Brock is charged with obstructing the Electoral
8      College and I guess the House proceeded a little farther but

9      once the Senate adjourned, it's not the Electoral College
10     anymore, it's just the House by itself which is a different

11     proceeding, not charged in this case.         It's undisputed that

12     the Electoral College ceased to function prior to Mr. Brock's
13     entry, I think that's an important point.

14                 And that's sort of the same arguments I'm making if

15     the Government -- the Government hasn't exactly elected a
16     theory as to Count One, whether it's aiding or abetting or

17     whether it's not but to the extent it is relying on aiding
18     and abetting and Ms. Ayers-Perez did use that term, they have

19     to show that Mr. Brock's intent was to assist, I forget the

20     exact terminology but to assist, encourage, you know, all the
21     terms the statute uses, Section 2, the individuals who were

22     responsible for obstructing the proceeding, again, as

23     distinct from encouraging the proceedings to arrive at what
24     they viewed as the correct results.        And the witnesses even

25     added support to this, the Government's witnesses testify, we



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1      heard people breaking the windows so we adjourned.           People
2      were smashing the doors so we adjourned.         In order to convict

3      on an aiding-and-abetting theory, there needs to be evidence

4      to find that Mr. Brock supported that, which is what
5      triggered the adjournment and we don't have evidence of that.

6                  As to the -- as to the restricted area, I basically

7      gave the Government in the opening, point to some evidence
8      that shows him being put on notice of the restriction and

9      they pointed to I guess three things the way I understood the
10     argument.    One is the people climbing the scaffold, which is

11     the restriction has to come from the persons lawfully in

12     charge of the property, and people climbing a scaffold don't
13     indicate any intention one way or the other on the part of

14     the people lawfully in charge of the premises, there's just

15     some knuckleheads climbing a scaffold, you'd find that at a
16     football game, a rock concert, any large gathering of people

17     there's going to be some knuckleheads so that doesn't
18     communicate anything one way or the other.

19                 The window, there's been arguments from the

20     Government that Mr. Brock was put on notice from people
21     jumping through the window and I'd urge the court to go back

22     and take another look at the video.        There are a couple of

23     people that come in through the window which would have been
24     on Mr. Brock's left, I think there was two, maybe three, but

25     if the court reviews the video or perhaps recalls better than



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1      I do, there's a piece of the wall there, it's like a piece
2      that sticks out that would have obscured the view from where

3      Mr. Brock was entering to that window, and so that combined

4      with the fact that Mr. Brock doesn't look to his left,
5      doesn't allow the court to find that the --

6                  THE COURT:    Don't you think it would require me to

7      blink reality to conclude that Mr. Brock in the few moments
8      before he actually entered the building and as he was

9      entering the building didn't see anyone going through the
10     windows?    That sounds pretty amazing for you to suggest that

11     that would be the case.

12                 MR. BURNHAM:    I don't think it's amazing at all
13     because we saw that by that point the door was open, there

14     was no need to go --

15                 THE COURT:    We also see people still coming through
16     the windows.

17                 MR. BURNHAM:    I think it was approximately two out
18     of maybe 30 that entered during that --

19                 THE COURT:    You say two while he was immediately

20     walking through?
21                 MR. BURNHAM:    That's right.

22                 THE COURT:    That doesn't mean while he was

23     approaching that there weren't others, indeed I think there
24     were others because we've seen some video before he actually

25     came through the door.



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1                  MR. BURNHAM:    When the windows are actually being
2      broken, certainly we did but by the time Mr. Brock arrived on

3      the scene, the door was open so the reasonable finding would

4      be that most of the people are just going to walk through the
5      door because there's no reason to go through the window at

6      that point.

7                  THE COURT:    But there were people coming through
8      the windows.

9                  MR. BURNHAM:    I think there were two, for whatever
10     reason, they went through the window, I don't know, but the

11     vast majority of people at that point were going through the

12     door and only stands to reason that that's what most people
13     would do with the exception of, again, the few just

14     miscreants that were just misbehaving for its own sake but

15     that would have been very few of number, and there's no
16     evidence Mr. Brock would have been on notice of because it

17     would have been, as he's walking through unless he looked
18     over and watched it, would have been indistinguishable

19     someone coming through the window and then someone that was

20     just walking from that part of the hallway, he wouldn't have
21     known the difference.

22                 THE COURT:    I'm talking about the moments before he

23     reached the door and came through.        He must have seen people
24     going through the windows then.

25                 MR. BURNHAM:    Well, there's no evidence of that and



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1      I would argue that there's not even an inference of Rule 29
2      that he would have had to have seen that.          I think if there's

3      any inference it would have been that few people would have

4      gone that way, and he seemed pretty intent on looking ahead
5      at the time, at least when he comes on the video and wouldn't

6      have been in a position --

7                  THE COURT:    I'll have to look at the video again to
8      see whether it only captures Mr. Brock coming through the

9      door or whether it also captures moments before he came
10     through the door and whether there were people coming through

11     the windows at that time.

12                 MR. BURNHAM:    Thank you, your Honor.      And final
13     point the Government raised is the situation at the Rotunda

14     doors and the first observation there is this is a triple

15     fallback position, I guess the argument is that if the
16     grounds weren't legally restricted and the outside of the

17     building was, perhaps he was then on notice well after
18     entering, but even there, you don't have those officers

19     communicating to him that he wasn't allowed to be there.

20     There was some seemingly crazy people outside the door
21     banging which only makes sense that the police weren't going

22     to let those guys in because they were acting crazy, didn't

23     communicate anything to Mr. Brock and with respect to the
24     remainder, I'd rest on my initial arguments.

25                 THE COURT:    All right, thank you, Mr. Burnham.        And



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1      those are the arguments that are good food for thought but
2      I'm going to keep them as thought.        I'm going to reserve a

3      decision on the motion consistent with Rule 29(b) and let the

4      remainder of the evidence in the case come in.          And I'll rule
5      after that, before I, or in conjunction with, if necessary,

6      any ruling on the defendant's guilt as to the various

7      charges.    But at this point, I'll reserve a decision on the
8      Rule 29 motion as Rule 29(b) permits.

9                  So we're going to break for lunch now, and I'll
10     give you time to think further, Mr. Burnham, and Mr. Brock,

11     but we'll resume at -- oh, let's make it 1:50, and we'll

12     proceed with a decision from the defendant with respect to
13     its case, and what lies thereafter.        Okay.    Anything else we

14     need to talk about before you have your lunch break?

15                 MS. AYERS-PEREZ:     Nothing from the Government.
16                 MR. BURNHAM:    No, your Honor.

17                 THE COURT:    All right.    Thank you, all.
18                       (Luncheon recess, 12:45 p.m. to 1:53 p.m.)

19                 THE COURT:    All right.    Welcome back, everyone, and

20     turn to you, Mr. Burnham, for the defense case.
21                 MR. BURNHAM:    Thank you, your Honor.      I'll approach

22     the podium.

23                 THE COURT:    Use whichever mic you want.
24                 MR. BURNHAM:    I'd like to move in the exhibits

25     previously identified, that's Exhibit 3, Defense Exhibit 3



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1      was a photo that --
2                  THE COURT:    I haven't seen -- well, it may be in

3      the book, is it in your book?

4                  MR. BURNHAM:    Yes, it is, under those tabs, tab 3
5      is the photo, that's identified by Agent Moore, I'll go ahead

6      and ask the court to receive it now.

7                  THE COURT:    All right.    Any objection to moving
8      Defense Exhibit 3 into evidence?

9                  MS. AYERS-PEREZ:     No objection, your Honor.
10                 THE COURT:    All right.    And I will include with

11     your representation, Mr. Burnham, that the date of the photo

12     is February 7th, 2020.
13                 MS. AYERS-PEREZ:     Yes, your Honor.

14                 THE COURT:    So Defense Exhibit 3 is admitted.

15                 MR. BURNHAM:    And then the other exhibit is Defense
16     Exhibit 5, under tab 5, which was the article that, you know,

17     I had the agent review but the basis for why that's
18     admissible is the second paragraph is the agent testified is

19     a quote and now that I've recovered the number, it matches up

20     pretty much word for word, I think word for word with
21     Government's 913, and so, you know, the odds of that being a

22     coincidence are vanishingly small so we would offer that as

23     proper authentication with that exhibit combined with the
24     agent's testimony.

25                 THE COURT:    All right, that's the representation



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1      made with respect to admissibility of the article and it
2      would be admitted only for that purpose, to show that a

3      quoted portion of Government Exhibit 913 is the same as a

4      paragraph of Exhibit 5.      Defense Exhibit 5.      Any objection?
5                  MS. AYERS-PEREZ:     I have no objection to that

6      limited purpose, your Honor.

7                  THE COURT:    All right.    And it will be admitted for
8      that purpose.     That is Defense Exhibit 5.

9                  MR. BURNHAM:    And with that, we rest.       If your
10     Honor needs to do a colloquy with Mr. Brock, he's prepared

11     but if not --

12                 THE COURT:    Yes, I would like, would you like to
13     ask him anything, or want me to do the colloquy?

14                 MR. BURNHAM:    However the court's norm -- I can

15     represent our discussions.
16                 THE COURT:    I usually do the colloquy so I will do

17     that so I'll just ask Mr. Brock to come up to the microphone,
18     you can stay there with him, Mr. Burnham.          Good afternoon,

19     Mr. Brock.

20                 THE DEFENDANT:     Yes.
21                 THE COURT:    The -- your counsel has indicated that

22     the defense is resting, which would mean that you have

23     decided not to testify, and I just wanted to confirm that
24     that is your free and voluntary choice and so I will ask you,

25     have you consulted with Mr. Burnham about whether you should



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1      or should not testify in this matter?
2                  THE DEFENDANT:     Yes, sir.

3                  THE COURT:    And have you taken into account his

4      advice to you?
5                  THE DEFENDANT:     Yes, sir.

6                  THE COURT:    And is it your decision that you will

7      not testify in this case, which is Criminal Case 21-140 in
8      this court?

9                  THE DEFENDANT:     Yes, sir.
10                 THE COURT:    All right.    And that is a decision made

11     by you upon advice of counsel, but freely, voluntarily, and

12     intelligently?
13                 THE DEFENDANT:     Yes, sir.

14                 THE COURT:    All right.    Thank you.

15                 MR. BURNHAM:    Thank you, your Honor.
16                 THE COURT:    With that, the record is complete.       And

17     now the only thing I have yet to receive from you all is
18     argument.    And we're about 2:00 in the afternoon, I'm

19     prepared to give you a little time if you want a little time

20     to compose your thoughts and so I can give you half an hour,
21     45 minutes, and then we can come back for argument.           Would

22     that be your request and in your interest?

23                 MS. AYERS-PEREZ:     Yes, your Honor.
24                 THE COURT:    One yes.    Mr. Burnham?

25                 MR. BURNHAM:    Yes, your Honor.



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1                  THE COURT:    All right.    And now --
2                  MR. BURNHAM:    Yes, your Honor.

3                  THE COURT:    And now timing, how long would the

4      Government expect to need?
5                  MS. AYERS-PEREZ:     I think 45 minutes is fine, your

6      Honor.

7                  THE COURT:    That's 45 minutes total?
8                  MS. AYERS-PEREZ:     Yes, your Honor, I think that

9      would take us to about 2:40 -- oh, I'm sorry, I'm sorry, I
10     was not on the same page, I'm so sorry.         No, I would need at

11     max 30 minutes total, so probably 20 and 10.

12                 THE COURT:    And Mr. Burnham?
13                 MR. BURNHAM:    I'll ask for 30 minutes, it might be

14     a little under that.

15                 THE COURT:    So 30 minutes or so.      So we'll resume
16     at -- I'll give you the full 45 minutes, resume at 2:45 and

17     hear argument at that time.       And once I hear argument, I will
18     either rule then or it's possible that I will decide to bring

19     you back first thing in the morning to rule.          We'll see how

20     things go with respect to your arguments, how convincing they
21     are on each side.     All right?    See you in 45 minutes.        Thank

22     you.

23                       (Court in recess, 1:59 p.m. to 2:49 p.m.)
24                 THE COURT:    All right.    Anything before we start

25     with the arguments?



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1                  MS. AYERS-PEREZ:      Not for the Government, your
2      Honor.

3                  MR. BURNHAM:    No, your Honor.

4                  THE COURT:    Fine.   Ms. Ayers-Perez, we'll start
5      with the Government.

6                  MS. AYERS-PEREZ:      Thank you, your Honor.     Your

7      Honor, in the days and weeks leading up to January 6th, 2021,
8      the defendant ... I apologize.

9                  THE COURT:    That's quite all right.      Your gesturing
10     was quite amusing.

11                 MS. AYERS-PEREZ:      In the days and weeks leading up

12     to January 6th, 2021, Larry Brock was obsessed with the
13     election.    He was saying things such as, "Biden won't be

14     inaugurated and we will ensure that on the 6th."           Things such

15     as, "the Supreme Court is staying out of it.          Those are the
16     last two peaceful options."        Talking about, "Congress can

17     stop it on the 6th of January."        Saying things such as, "Help
18     is on the way, 6 January #MAGA #Stormthecastle."           On

19     July 5th, "our second American Revolution begins in less than

20     two days."
21                 THE COURT:    It's January 5th, not July, right?

22                 MS. AYERS-PEREZ:      January 5th, your Honor, thank

23     you.   And then in December, "I prefer outright Insurrection
24     at this point."     He prepared for January 6th, he bought

25     tactical gear, he bought a helmet, and he showed up there and



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1      the first thing he did is he went to the Stop the Steal Rally
2      with so many others.

3                  And then he began his march to the Capitol.           He

4      marched down Constitution Avenue, we can see him here,
5      wearing his combat vest, wearing his jacket, and he enters

6      into the restricted area.       We heard from Captain Patton what

7      that restricted area looked like.        He personally walked it
8      that morning.     Signs every other bike rack, area closed by

9      Capitol Police.     Bike rack all around, snow fencing, all
10     around, and Larry Brock walked through all of this, with

11     everybody else, and he walks up --

12                 THE COURT:    Is there any evidence as to whether all
13     of that was in place or not in place when Mr. Brock entered

14     that area?

15                 MS. AYERS-PEREZ:     Well, Captain Patton saw it that
16     morning and I haven't heard any evidence that Mr. Brock

17     didn't see it that day.      Here we are next to the scaffolding
18     on the west side of the Capitol.        We've heard from Captain

19     Patton, we're already in the restricted area at that point.

20     People are climbing scaffolding outside the United States
21     Capitol building, and there's Larry Brock.          Helmet on, part

22     of the group, part of the mob, making his way towards the

23     Capitol building.     And at 2:24 p.m., he enters into the
24     Capitol building.     You see the broken windows next to him,

25     people have entered through those windows, he's walking into



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1      the Capitol building a mere 12 minutes after the initial
2      breach on the west side of the Capitol.

3                  THE COURT:    That's a still photo from a video.

4                  MS. AYERS-PEREZ:     It is, your Honor, yes.
5                  THE COURT:    I haven't gone back and looked at the

6      video, I will.     Does the Government represent whether the

7      video shows the time before Mr. Brock entering?
8                  MS. AYERS-PEREZ:     I'm not sure, I don't believe it

9      shows too much time before he enters.         I can tell you this
10     window here on the right side of the screen, there is

11     somebody who does climb through that window in close

12     proximity to when Larry Brock enters into the Capitol
13     building.

14                 THE COURT:    Well, I guess I'll look at the video.

15                 MS. AYERS-PEREZ:     Larry Brock then ends up outside
16     the Rotunda at 2:35 p.m., and these are those east Rotunda

17     doors, right outside the Rotunda after Larry Brock has
18     already gone into the area marked Speaker of the House, Nancy

19     Pelosi, and here is Larry Brock.        Mere feet from that east

20     Rotunda door.     And what you'll notice about that door is the
21     window has already been smashed out.         And there are law

22     enforcement, Capitol Police right there and right there

23     (indicating).     Despite all of this, despite Larry Brock being
24     within feet of all of this, he continues on his mission

25     throughout the Capitol Building.        He grabs flex cuffs off the



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1      ground and proceeds to head upstairs to the third floor.
2                  Here he is going down the corridor one minute later

3      towards the Senate Gallery.       And here he is two minutes later

4      outside the Senate Gallery, and this is where Sergeant
5      Timberlake talked about.       As he's trying desperately to close

6      these gallery doors, he's been assaulted by Capitol rioters,

7      not by Larry Brock.      Larry Brock stops the assault per
8      Sergeant Timberlake, calms things down.         To calm it down

9      means that Larry Brock saw it.        He saw Sergeant Timberlake
10     assaulted by fellow rioters and he continues on again.

11                 And we see this post.      The conversation Larry Brock

12     is having with Beaf Supreame.       "A possible IO loss if a cop
13     got hurt."    And Brock, "look dude, I am pretty sure I am

14     ready to go at it.      I just need numbers with me."       This is

15     the mindset that Larry Brock had that day, and I --
16                 THE COURT:    Wait a minute, wait a minute, Beaf

17     Supreame is saying, it would be bad if a cop got hurt.
18                 MS. AYERS-PEREZ:     Yes, yes.

19                 THE COURT:    And Mr. Brock is responding that he's

20     ready to go at it.      He just needs numbers.
21                 MS. AYERS-PEREZ:     Right.   He's ready to go at it

22     that day, and then what you see is that Larry Brock stops a

23     cop from being hurt that day, Sergeant Timberlake.           And what
24     we will see in a few minutes is when Larry Brock is on the

25     Senate floor, he's still talking about that IO war.           He's



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1      stopping, the reason that Sergeant Timberlake is being
2      stopped from being assaulted by Larry Brock and why Larry

3      Brock is trying to defuse a situation, calm it down, is

4      because he's worried about this IO loss.         This IO war is at
5      the front of Larry Brock's thought process that day, which we

6      hear when he gets on the Senate floor.

7                  Just one minute later, here he is on the Senate
8      balcony, and you'll notice that here he is shouting at fellow

9      rioters and they're turning and looking at him.           He has a
10     commanding presence.      He's making his voice heard.       He's

11     telling them, do not destroy anything and they're listening.

12     People around him.
13                 THE COURT:    We would all prefer that he's saying

14     that rather than the opposite, don't we?

15                 MS. AYERS-PEREZ:     I prefer he wasn't at the Capitol
16     that day.

17                 THE COURT:    Different issue, different issue.
18                 MS. AYERS-PEREZ:     But yes, it is great that he said

19     that.   But the fact that his actions then take him down onto

20     the Senate floor is different than if he had said that and
21     left.

22                 And then four minutes later, he goes directly

23     downstairs to the second floor.        He knows where he is now.
24     He has oriented himself because he was there in the gallery

25     and understands that the Senate floor is below him.           And here



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1      he is at the door, we heard from Captain Patton it looked
2      like he had a set of keys in his hand, and that door says

3      United States Senate on it.       And we know that door 21 minutes

4      earlier had Vice President Michael Pence leaving from that
5      door, just 21 minutes prior to Larry Brock standing outside

6      trying to get inside.      And we heard from Captain Patton, what

7      that door leads to.      It leads to the Senate floor and it
8      leads to Vice President Pence's ceremonial office.

9                  THE COURT:    It's not really that important what's
10     behind that door because there's no evidence that Mr. Brock

11     knew what was behind that door.

12                 MS. AYERS-PEREZ:     Well, the door says United States
13     Senate on it.

14                 THE COURT:    That's right.    It is obviously a closed

15     locked door giving access to some part of United States
16     Senate.

17                 MS. AYERS-PEREZ:     It is.
18                 THE COURT:    The fact that the Vice President came

19     through it 20 minutes earlier is dramatic, but it doesn't

20     seem to me to be that significant because Mr. Brock didn't
21     know that.    There's no evidence that he knew that.

22                 MS. AYERS-PEREZ:     Right.   But Mr. Brock has found

23     himself in an area that's extremely sensitive, so much so
24     that the Vice President had just come out of there 21 minutes

25     prior and he's trying to get into a locked door inside a



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1      building he was never supposed to be in in the first place.
2                  And just two minutes later, here he is on the

3      Senate floor, and you'll see in his left hand, he now has his

4      flex cuffs out.     The interesting thing about those flex cuffs
5      is that Sergeant Timberlake never saw them, and he was right

6      next to Larry Brock and he never saw the flex cuffs.              When

7      Larry Brock is right next to Sergeant Timberlake he doesn't
8      have them displayed, he doesn't hand them to an officer to

9      get rid of them, he has them wherever he has them, we don't
10     know, but now he's brought them out again, now that he's on

11     the Senate floor.     And once again, we find Larry Brock in the

12     Senate Chamber shouting at fellow rioters saying things such
13     as get out of the Vice President's chair.          This is our house.

14     This is an IO war.      We can't lose the IO war.

15                 And he's back to his mindset that led up to all of
16     this, which is the IO war, which is what we see message after

17     message after message on Facebook that Larry Brock has in the
18     days and weeks leading up to January 6th.          We saw the

19     progression of furor from Larry Brock, first in November,

20     that Donald Trump had lost the election, in December, so he
21     has convinced himself the Supreme Court will handle the loss,

22     that Donald Trump will still be President, and now his final

23     piece is January 6th and Congress and now he's on the floor
24     of the Senate where just less than an hour before, they had

25     been debating Arizona and the objection to Arizona, the Vice



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1      President had been in his chair, and now Larry Brock is in
2      combat gear standing on the floor of the Senate.           He's

3      walking around not just in the middle of the Senate, you can

4      see him here in the back walking around the desks there in
5      the Senate.

6                  THE COURT:    Now those keys that you referenced a

7      moment ago at that door, we don't know where those keys came
8      from.

9                  MS. AYERS-PEREZ:     We don't, as Agent Moore
10     testified, they didn't find them when they executed that

11     search warrant, we have no idea where those keys came from,

12     where he got them from, what they were to.
13                 THE COURT:    Does that matter?

14                 MS. AYERS-PEREZ:     It matters in the sense that we

15     would like to know what those keys are to if they're
16     actually --

17                 THE COURT:    We would like to know but it doesn't
18     matter in terms of his culpability on any of the charges?

19                 MS. AYERS-PEREZ:     It matters in the sense that he

20     was deep inside the Capitol in a very sensitive area and he
21     at some point, whether inside the Capitol or before he got to

22     the Capitol, had found a set of keys that it appeared he

23     believed could open the door to the Senate Chamber, and you
24     know it's the Senate because it says so on the door.              And

25     so --



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1                  THE COURT:    I'm not sure you're understanding my
2      question.    My question is this:      If A, he brought the keys

3      with him; or B, he found the keys on the table outside the

4      door and they were unlabeled; or C, he found the keys there,
5      and they were labeled Senate keys, is there a different

6      result from those three possibilities or is the result at the

7      end of the day the same?
8                  MS. AYERS-PEREZ:     Well, the result is the same

9      because he didn't get in through the keys, but him even
10     trying with the keys, whether or not they were A, B, or C,

11     whichever way he obtained the keys, goes to his corrupt

12     intent and his unlawful intent that day to get onto the floor
13     of the Senate where the official proceeding was taking place.

14                 THE COURT:    I think you're saying it doesn't matter

15     because whether it's A, B, or C, it's still corrupt intent.
16                 MS. AYERS-PEREZ:     It is.   And we --

17                 THE COURT:    That's your answer to my question, I
18     think.

19                 MS. AYERS-PEREZ:     Yes, your Honor.     It is still

20     corrupt intent, whether it's A, B, or C, the fact that he's
21     using the keys, obtained however he obtained them, is showing

22     his corrupt intent that day and his unlawful intent to get to

23     the heart of the Capitol to get onto the Senate floor, where
24     the official proceeding that's the basis for Count One of the

25     indictment was in the process of taking place.          The objection



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1      to Arizona was being debated in the Senate at that moment in
2      time.   So it does go to his corrupt intent that day.

3                  And we see his corrupt intent throughout the course

4      of this.    We see it beginning in his Facebook posts, leading
5      up to January 6th, as he gets more and more angry and his

6      rhetoric gets more and more intense.         When he says things

7      such as storm the castle, when he says things such as that
8      the American Revolution begins in less than two days, on

9      January 5th, that's showing his intent on what he's going to
10     do when he gets to Washington, D.C. on January 6th.

11                 What is so unique about Larry Brock is that he

12     doesn't talk very much about going to the Stop the Steal
13     Rally, that wasn't his purpose behind being in Washington,

14     D.C. on January 6th.      His conversations leading up to

15     January 6th are about Congress.        They're about the vote,
16     they're about January 6th itself.        And he is acutely aware of

17     what is happening inside that Capitol building on
18     January 6th.    It's not just the end result of a Stop the

19     Steal Rally that he attends, it is the Capitol and Congress

20     that is the reason why he's there in the first place.             He
21     very, very infrequently talks about the Stop the Steal Rally.

22     It's Congress, it's the counting of the Electoral College

23     votes, it's the peaceful transfer of power on January 6th
24     that brought Larry Brock to Washington, D.C., in combat gear

25     at that.



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1                  THE COURT:    One could read the evidence, I'm not
2      saying that I do, but one could read the evidence in a way

3      that supports the conclusion that Mr. Brock wanted to stop

4      the inauguration, because that's referenced a couple of
5      times, as opposed to specifically stopping the certification

6      of the election.     Why shouldn't the evidence be read that

7      way?   And would that matter?
8                  MS. AYERS-PEREZ:     He wasn't there on January 20th,

9      he was there on January 6th, and one way to stop the
10     inauguration of a new President is to be there on January 6th

11     and stop the peaceful transfer of power.         It's that day that

12     he bought plane tickets for to go to Washington, D.C.             He
13     didn't buy plane tickets to go to Washington, D.C. on

14     January 19th to stop the eventual inauguration on

15     January 20th.
16                 THE COURT:    Is there anything in the evidence --

17     there are a lot of references to January 6th, and some of
18     those references, not many of them but some of them might

19     have been tagged to the Stop the Steal Rally on January 6th,

20     is there any evidence in any of his communications
21     beforehand, the Facebook communications mainly, that he

22     intended to go to the Capitol on January 6th?

23                 MS. AYERS-PEREZ:     He talks multiple times about
24     Congress on January 6th, and Congress is there inside the

25     Capitol building, and he ends up there at the Capitol



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1      building.
2                  THE COURT:    I know where he wound up, but is there

3      anything that actually says, that indicates there are things

4      that indicate I'm going to the Stop the Steal Rally, is there
5      anything that indicates I'm going to the Capitol?

6                  MS. AYERS-PEREZ:      It's not, there's nothing in

7      there that says I'm going to the Capitol.          There are a number
8      of messages that says Congress on January 6th and what

9      Congress is doing on January 6th.        Larry Brock is a smart
10     guy, he's a graduate of the United States Air Force Academy,

11     former lieutenant colonel in the Air Force, he understands

12     where Congress is and he understands what's happening on
13     January 6th, in Congress, and I think he's made his knowledge

14     of what's happening on January 6th and Congress' role in

15     that, he discusses that plenty of times throughout his
16     messages leading up to January 6th, and he very infrequently

17     discusses the actual rally that Donald Trump is having that
18     day, and prior to going to the Capitol.

19                 THE COURT:    Okay.

20                 MS. AYERS-PEREZ:      And all of this leads to this
21     chilling post on December 24th that reads as a military

22     operation that Larry Brock sends in a private message to a

23     fellow military man where he lists what he wants to happen if
24     Congress fails to act on January 6th, and it is egregious and

25     severe, but it also shows just how strongly Larry Brock feels



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1      about January 6th and that January 6th is the end point for
2      him.   Not the inauguration, it's January 6th, and what's

3      happening in Congress at the Capitol that is the end point

4      for Larry Brock.     Thank you, your Honor.
5                  THE COURT:    Well, wait a minute.      I have a question

6      or two.    So if I decide that there has to be something more

7      than just being in the Capitol in order to find disorderly or
8      disruptive conduct, what evidence would you point me to that

9      is more than just being in the Capitol?
10                 MS. AYERS-PEREZ:     Well, the disruptive conduct was

11     disrupting the proceeding, or any course of business that

12     day, and more than just being in the Capitol, he is
13     throughout the Capitol.      He starts on the first floor, second

14     floor, third floor, Rotunda, east Rotunda stairs, Senate Wing

15     Doors, Senate Gallery, Senate floor, Parliamentarian doors,
16     he makes quite a bit of headway and goes through the Capitol

17     a lot.    He didn't walk in -- and I know your Honor had the
18     hypothetical earlier of somebody walking in and walking out

19     almost immediately.      He spent about 38 minutes inside the

20     Capitol, but during that time, he went on to the Senate
21     floor, where less than an hour before, they're debating

22     Arizona on the Senate floor, where he is now at and they

23     can't continue their order of business, the normal
24     proceedings because not just people are inside the Capitol of

25     course, but he's not leaving immediately like you said, he is



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1      going through the Capitol for a lengthy period of time and
2      he's going to one of the most sensitive areas within a

3      sensitive building within the United States.

4                  THE COURT:    So you would point to the duration and
5      scope of his time in the Capitol?

6                  MS. AYERS-PEREZ:     Duration and scope and, yes, and

7      the location, yes, as part of his subset of scope.
8                  THE COURT:    What about in the last charge, the

9      parading, picketing, demonstrating, which of those do you
10     assert Mr. Brock engaged in?

11                 MS. AYERS-PEREZ:     The demonstrating, as part of a

12     group that's demonstrating throughout as somebody who's
13     shouting commands and as part of a group in the Senate

14     Gallery.

15                 THE COURT:    So not picketing.
16                 MS. AYERS-PEREZ:     Picketed, too, he really did.     I

17     mean Larry Brock's conduct on January 6th covers a wide range
18     of conduct.    I think demonstrating is the one that most

19     closely fits, but it doesn't mean the others don't fit.

20                 THE COURT:    So the only one of those three terms
21     that's defined, specially defined for purposes of the

22     provisions is demonstrate, which is defined as conduct that

23     would disrupt the orderly business of Congress by, for
24     example, impeding or obstructing passageways, hearings or

25     meetings but does not include activities such as quiet



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1      praying, and so with that definition of demonstrate, what is
2      it you feel that he did that constitutes demonstrating?

3                  MS. AYERS-PEREZ:     Merely being inside the Capitol

4      and going throughout the Capitol, especially with the scope
5      of what he did, it disrupted the order of Congress and what

6      Congress is doing, but in addition to that, going inside the

7      Senate Chamber twice, once at the gallery, once on the Senate
8      floor, absolutely disrupted normal course of Congress because

9      he's inside the chamber where Congress is supposed to be
10     convened at that moment in time.

11                 THE COURT:    Well, is it odd that someone going into

12     the chamber who wasn't a Senator or a staff person for the
13     Senator or into the gallery, unless they do something more,

14     probably would not be disrupting the orderly business of

15     Congress, but someone going in when Congress isn't even there
16     would be disrupting the orderly business of Congress?             It

17     seems a little odd.
18                 MS. AYERS-PEREZ:     Well, I take it from the first

19     example that that's somebody who's already lawfully inside

20     the building.     Larry Brock and the --
21                 THE COURT:    That's my hypothetical, yes.

22                 MS. AYERS-PEREZ:     -- and the fellow rioters are not

23     lawfully inside the building.       We've heard from multiple law
24     enforcement officers that they didn't go through the

25     security, they didn't put their bags in the x-ray machine,



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1      they didn't go through the metal detector, they don't know
2      what's on them, and that's what makes the conduct of the mob

3      and how they broke into the Capitol so dangerous, is because

4      you don't know what anybody has, and Larry Brock was part of
5      that.    He's not the person who came into the building

6      lawfully and went through security and is lawfully inside the

7      building and then makes a disruption up in the gallery.            He's
8      not lawfully there, he hasn't gone through security and he's

9      on the Senate floor which nobody would be allowed to do short
10     of staffers or members, and they're supposed to be there

11     right then but they're not because of what the rioters have

12     done.
13                 THE COURT:    So, my last question is, is related to

14     entry into restricted grounds as opposed to building.             Does

15     that provision 1752 require that an individual, Mr. Brock in
16     this instance, know that the grounds are restricted?

17                 MS. AYERS-PEREZ:     He has to knowingly violate it,
18     but --

19                 THE COURT:    Has to knowingly but not knowingly and

20     willingly which is the language in other provisions but not
21     in this provision.

22                 MS. AYERS-PEREZ:     Right, he does have to knowingly

23     do it, and this case --
24                 THE COURT:    Not just that he's entering in the area

25     but he has to know the area he's entering is restricted.



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1                  MS. AYERS-PEREZ:     Right, which is why Capitol
2      Police did all they could or did all they did with the

3      restricted perimeter, with the area closed by Capitol Police

4      signs every other bike rack, with the bike racks with the
5      snow fencing, the fact that there were more than one set of

6      those and Captain Patton told us they were all up there that

7      morning, and we haven't heard any evidence that Larry Brock
8      didn't see that stuff that day.        I mean it was -- we have

9      evidence that it was there, and that, it wasn't just a sign
10     stapled to a tree that you hope somebody sees that says no

11     trespassing.    I mean we're talking about a actual barrier

12     around the Capitol building with multiple sources of barrier
13     with bike racks and snow fencing and signs.          It wasn't just

14     one, it was around the entirety of the Capitol in a really, a

15     large restricted area that he had to have gone through to end
16     up where he ended up.

17                 THE COURT:    All right.    Thank you.
18                 MS. AYERS-PEREZ:     Thank you.

19                 THE COURT:    I'll give you some time in rebuttal.

20                 MS. AYERS-PEREZ:     Thank you.
21                 THE COURT:    Mr. Burnham.

22                 MR. BURNHAM:    Thank you, your Honor.

23                 Your Honor, I'll welcome questions from the bench
24     but failing that, I'll try to go through more or less

25     chronologically what the evidence was which means that I'll



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1      start with the social media record because that's the first
2      thing in time.     And as already previewed to the court in the

3      arguments surrounding the admissibility of those, it's a

4      little hard, I submit, to tell exactly how much weight to
5      give to some of that stuff.       There's hashtags, we presented

6      one article that shows some of it is quotes, sometimes he's

7      responding to other things that are blacked out, but I submit
8      that there are --

9                  THE COURT:    Just because he's got a quote from some
10     other source doesn't mean he's not advocating what's in that

11     quote, he's copying it and putting it in his communication.

12                 MR. BURNHAM:    Well, I think there's other
13     evidence --

14                 THE COURT:    It may not be his original language,

15     but he seems to be in line with it, right?
16                 MR. BURNHAM:    I think the remainder of the evidence

17     in the case would show quite clearly whether that was a
18     serious suggestion or not.       I introduced the article more to

19     show the tenor of those discussions, it was passing around

20     things on the internet, it was hashtags, it was little
21     sayings like storm the castle.        If there was evidence tending

22     to show that the quote from the American Thinker article was

23     indeed presented as a real plan to be put into practice, then
24     yes, it would be highly significant evidence, but I

25     absolutely think the court should compare it against what we



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1      know about the conduct that followed.
2                  But I think there are -- I do agree that there are

3      two significant things we can take away from the social media

4      record and the first is that Mr. Brock's concern about the
5      2020 election was genuine.       This was not just something he

6      drummed up because he didn't want to see Trump lose.              He was

7      genuinely concerned about what he had read on the internet
8      about alleged fraud, about illegality.         We all have our

9      different opinions about that but I think it's manifest from
10     the record where his head was, that's one thing.

11                 The second thing is, is related, is he trusted the

12     United States Congress to fix that problem.          He says that
13     multiple times, Government's Exhibit 911, Congress can stop

14     on January 6th; Government's Exhibit 912, hopefully Congress

15     will do what is right, that's referring to the Electoral
16     College.    That's where Mr. Brock placed his faith and I'll

17     come back to that.
18                 THE COURT:    Well, why does that matter that much?

19     Let's say he came to Washington with the hope that Congress

20     was going to fix the problem, but with the firm belief that
21     if Congress didn't, he was gonna be a participant in conduct

22     to fix it because Congress hadn't?

23                 MR. BURNHAM:    That would be -- that would be highly
24     illegal and problematic but that's not what we have here,

25     neither in the social media evidence nor in his behavior he



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1      doesn't say --
2                  THE COURT:    He's got a specific plan that he sets

3      out if Congress didn't fix it on January 6th.

4                  MR. BURNHAM:    I have two things to say about the
5      plan.   One about the face of the plan and one in comparing --

6      I submit to the court it's absurd on its face.          I started

7      referring to it in my head as the Christmas Eve plan because
8      when you read it, one wonders if Beaf Supreame and Mr. Brock

9      hadn't gotten into the eggnog a little early.          Maybe the
10     court shares that view; maybe it doesn't.

11                 THE COURT:    I love it when counsel take those views

12     of their client.     That happens sometimes and I know it's not
13     a serious view of your client, but I understand it.

14                 MR. BURNHAM:    They're military buddies, obviously

15     they know each other very well, they're talking about cutting
16     off the power to Democratic cities, arresting Mark

17     Zuckerberg, it's so over the top.
18                 THE COURT:    But isn't it, isn't it at least a

19     reflection of, I'm willing to support serious efforts to stop

20     this election from being certified?
21                 MR. BURNHAM:    It's absolutely --

22                 THE COURT:    To stop the Congressional certification

23     of the election?
24                 MR. BURNHAM:    It's absolutely not, and we can tell

25     that it's not by just looking at -- that's Exhibit 910, if we



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1      just skip forward to Exhibit 912, it makes clear as day it's
2      not a serious plan.      912 is, if your Honor recalls, that's

3      where Mr. Brock tells Beaf Supreame/Drew, I'm going to D.C.,

4      I bought my tickets and Beaf Supreame doesn't say, oh, great,
5      we're going to go arrest Mitch McConnell like we planned just

6      a couple of days ago, he says, why are you going there?            And

7      Mr. Brock doesn't say, well, don't you remember we planned
8      out we're going to take over the government?          He says, I

9      don't know, I think it's going to be a significant day, I
10     want to be there, and he repeats again, hopefully Congress

11     will do what's right.      He says that in that very message.

12     And so without even getting into his conduct on January 6th,
13     just based on the social media record itself, there's enough

14     evidence to find that Exhibit 910 is not a serious statement

15     of intent.
16                 THE COURT:    Go ahead.

17                 MR. BURNHAM:    I have one more thing.
18                 THE COURT:    Just reading those exhibits.

19                 MR. BURNHAM:    I think it's a useful other way to

20     think about this is, if Exhibit 910 was serious, you know,
21     what would we have expected to see?        We would have expected

22     to see Mr. Brock making, you know, contact with other people

23     that could help him, we would have expected to see him
24     assembling some kind of assault force, making plans to go

25     arrest Mark Zuckerberg, making plans to cut off the power to



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1      Dem cities.    I mean, if it was a serious thing you'd expect
2      some followup and there's none of that, there's absolutely

3      none, it's two military buddies getting out of hand getting a

4      little too angry about an election that didn't go their way
5      and it stopped there and that's as far as it went.

6                  THE COURT:    So what do you think, what's your

7      explanation for a Facebook communication on the 1st of
8      January, "Help is on the way, 6 January 2021, storm the

9      castle."
10                 MR. BURNHAM:    Well, storm the castle is a hashtag,

11     you can see that's in there, means it was something sort of

12     circulating on social media and so to ask what he meant by
13     it --

14                 THE COURT:    So what's it mean for him to put that

15     in there?
16                 MR. BURNHAM:    Well, we can tell what it means from

17     his conduct, from his conduct that day, I'll go through it
18     just the way the Government did, is if he went in there and

19     was one of the ones that was breaking the windows, that was,

20     you know, screaming we're going to hang Mike Pence, well,
21     then maybe you'd say storm the castle meant something

22     sinister, but given the way he did that, storm the castle was

23     just a reference to the January 6th rally, that's all it is.
24                 THE COURT:    So, wasn't he committed to take action

25     on January 6th to keep President Biden ultimately from



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1      becoming President?
2                  MR. BURNHAM:    Action by supporting the Congressmen

3      and Senators in objecting to the count, that was the action

4      that he intended.
5                  THE COURT:    By supporting Congress.

6                  MR. BURNHAM:    Yes, the Stop the Steal Rally was a

7      rally in support, and the President, you know, his comments
8      dovetail with this exactly, it's a rally in support of the

9      Senators and Congressmen that intended to object to the
10     certification.     And Agent Glavey acknowledged that that was

11     well known leading up, Congressmen and Senators were saying

12     there are problems with the vote, we have meritorious
13     objections to these states and Secret Service planned out

14     exactly how they were going to accommodate the extensive

15     debate that they knew was going to have to take place.
16                 THE COURT:    And supporting Congress was what he

17     meant by the second American Revolution?
18                 MR. BURNHAM:    Well, I think that's something that

19     your Honor can conclude was overheated rhetoric.           I think

20     it's not being, trying to have it both ways to draw a
21     distinction between when he seems to be being serious, when

22     he's saying, I hope Congress can fix this, I've read about

23     fraud and when he's saying, oh, hey, it's going to be 1776,
24     we're all patriots, we're going to have a resolution, I don't

25     think he's trying have it both ways to make a distinction



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1      between venting on Facebook about how much you think, you
2      know, how disappointed you are in the election versus serious

3      statements that have some plausible connection to his later

4      actions, that's the distinction that I would make.           If
5      there's a statement on social media that has some reasonable

6      relation to his later action, it was meant as a serious

7      statement; if there's a statement that's both a little crazy
8      on its face and has no reasonable relation to his later

9      actions, I think the court can conclude it's just venting on
10     Facebook.    That's the distinction that I've tried to make

11     throughout this.

12                 And we sort of, we sort of, I got into this a
13     little bit in response to your Honor's questions but I did

14     want to draw the Court's attention to the evidence that's in

15     the record about how the Electoral College was supposed to
16     function because that becomes important.         And this came from

17     a couple sources but the Secret Service agent was one, is
18     that, as I already alluded to, there was a process there.

19     Congress and senators were supposed to object to states, that

20     wasn't a nefarious thing, that's, happens every four years,
21     it's the way it's supposed to work.        Having opinions that

22     there was fraud in 2020 is not per se corrupt, I mean we can

23     get into the basis for it but it's not a per se corrupt
24     opinion to have.     And every witness that I questioned about

25     this confirms that objections to the vote were anticipated,



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1      they were perfectly normal, and even the Secret Service agent
2      said there had been suggestions that perhaps the matter could

3      be remanded to the states.       Obviously it was different

4      opinions about whether that's even legally possible but she
5      acknowledged that that was something that had been raised and

6      that's something that the President explicitly raised at the

7      rally.   President of the United States said that it could be
8      sent back.    So these were all things that were in the

9      atmosphere that were informing the words and actions of the
10     different demonstrators.

11                 And that becomes important because I continue to

12     insist that the appropriate analysis does not proceed using
13     analytical category of the mob.        There was not one mob, there

14     was -- it's apparent from the video, there were many

15     different types of people there and many different
16     situations.    Some people looked like your grandfather in a

17     MAGA hat, some people were terrifying, and some people just
18     looked lost, some people were in certain situations at the

19     Capitol where there was violence and confrontations, others

20     were not.    We have to analyze the specific slice of geography
21     and time in which Larry Brock's actions unfolded to come to

22     the right legal result.      And the most significant thing is

23     there is a world of difference legally between an individual
24     who entered the Capitol at 2:12 and an individual like Larry

25     Brock that entered the Capitol at 2:24.         It sounds like a



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1      small fact, it's not a lot of time, but in terms of legality
2      and the situation on the ground, it makes all the difference

3      in the world.

4                  THE COURT:    There might be a difference but does it
5      ultimately make a difference in terms of criminal

6      culpability?

7                  MR. BURNHAM:    I think it does, your Honor,
8      because -- well, let me talk about the -- if it's okay with

9      the Court I'll talk about the restricted area issue and then
10     move forward to the door, I think is what we're --

11                 THE COURT:    It's your argument, as you wish.

12                 MR. BURNHAM:    Just want to tee it up.
13                 THE COURT:    I may divert you from time to time with

14     questions, but go ahead.

15                 MR. BURNHAM:    I think your Honor asked the exact
16     right question about the restricted area.          Was there any

17     evidence that Mr. Brock -- the law absolutely does require
18     him to be on notice, there's no such thing as a secretly

19     restricted area that you could get prosecuted for violating.

20     They have to be on notice, that's clear in the cases that I
21     cited.   Not a lot of cases but the ones that exist make that

22     clear.   Secondly, in response to your Honor's question, was

23     he on notice of this, the Government couldn't point to any
24     evidence because there isn't any.        The statement from the

25     Government is there's no evidence that Mr. Brock didn't see



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1      the barriers and that's sort of not how this is supposed to
2      work.   The restricted area is an element they have to prove,

3      it's not something we have to disprove, but we actually did

4      do our best to disprove it in our questioning with Captain
5      Patton if your Honor recalls.       I asked him, you know, was

6      it -- did the police attempt to rebuild the barriers after

7      the demonstrators moved them out of the way and he candidly
8      admitted, no, we didn't have the manpower for that, we had

9      bigger problems we didn't do it.        And we know that Mr. Brock
10     was -- we don't know exactly how far back but we know he was

11     not anywhere close to the front of the crowd.          So even if

12     we -- even if through some burden-shifting argument we had to
13     prove --

14                 THE COURT:    We know that he wasn't at the front of

15     the crowd?
16                 MR. BURNHAM:    Yes.

17                 THE COURT:    We don't actually know that.       It
18     depends when you identify the crowd.         We see videos of the

19     crowd moving up to the Capitol, moving up to the lower

20     terrace, and delaying there for a while with the line of
21     police, we don't know where Mr. Brock is in that group, do

22     we?

23                 MR. BURNHAM:    All the evidence supports an
24     inference that he was somewhere towards the middle.           We know

25     that for several reasons.       One, the time that he entered,



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1      that's one; two, the video, the very brief video where you
2      can see his helmet, he's -- bunch of people in front of him,

3      and --

4                  THE COURT:    You mean with the hand next to the
5      scaffold?

6                  MR. BURNHAM:    I think that's somebody else's hand

7      but that's the video, and he's clearly towards the back and
8      so the evidence we do have supports an inference, I would

9      urge the Court, that he wasn't in a position to see the
10     initial confrontations between police or the movement of the

11     bike racks.    Certainly there's no direct evidence that he did

12     see any, all the evidence supports an inference the other
13     direction.

14                 THE COURT:    Well, but where does that take one?

15     Let's say he was in the middle of a group that was pressing
16     against a police line that was trying to keep them from

17     moving forward to the Capitol, and that ultimately, that
18     group, a large group, called a mob by many, broke the police

19     line and breached it and went up to the Capitol.           Why is that

20     not clear evidence that he knew he wasn't authorized to go up
21     to and then into the Capitol?       He only got there by being

22     part of a large group that overwhelmed the police line

23     keeping them from moving forward.
24                 MR. BURNHAM:    In your Honor's hypothetical --

25                 THE COURT:    That's not a hypothetical.



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1                  MR. BURNHAM:    Okay, well --
2                  THE COURT:    What's hypothetical about what I just

3      said?

4                  MR. BURNHAM:    Well, the crucial question was, was
5      he in a position to see how the crowd moved forward,

6      that's -- everything depends on that.         If there was evidence

7      that he was in a position, even if he wasn't involved, he
8      could see the confrontation, then yes, I have a serious

9      problem, but there's no evidence --
10                 THE COURT:    A lot of your argument depends on

11     Mr. Brock not seeing anything that's going on around him.

12                 MR. BURNHAM:    I understand that but --
13                 THE COURT:    That's part of your argument about him

14     entering the Capitol, and that's now part of your argument

15     about breaching the police line preventing people from
16     getting to the Capitol.

17                 MR. BURNHAM:    I'm just going from the Government's
18     evidence but I think it's only natural that the people that

19     entered at a certain period of time would, naturally that

20     would be their experience, after the initial incurgence
21     (phonetic) took place but before the police kind of got their

22     act together, it's not surprising that there was a group of

23     people who were able to enter without having any particular
24     indication of exactly what the status of the restrictions or

25     the police intent was, that shouldn't be surprising.              If he



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1      came in later after the police had secured the door or after
2      they started trying to get people out, that would be a

3      different situation.      If he was in the first wave, obviously

4      that's different.     He's in the middle, so it's not surprising
5      at all that that was his experience.         I'm not surprised the

6      evidence unfolded that way.

7                  THE COURT:    Go ahead.
8                  MR. BURNHAM:    And so I think we analyzed the video

9      of him entering pretty thoroughly in the Rule 29 arguments
10     and I incorporate that now but I just --

11                 THE COURT:    I'll go back and look at it.       I have

12     not gone back and looked at it because I don't have access to
13     it back in my chambers but I will be, at the conclusion of

14     this argument, I will be asking that that exhibit be played

15     again.
16                 MR. BURNHAM:    Absolutely, yes, absolutely reviewing

17     it is something we're happy to hear the Court's going to do
18     and the facts I think that are crucial are the large number

19     of people proceeding through the door compared to the

20     relative handful that go through the window and the relative
21     orderly manner in which the individuals entering through the

22     door go through.     Mr. Brock's body language and expression

23     don't indicate that, you know, he's not sitting there looking
24     around, what's that guy doing, what's that guy doing.             For

25     whatever reason, he's straight ahead, and then he turns and



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1      he leaves.    We think that's highly significant.         As an aside,
2      I don't know that it particularly makes the area restricted.

3      We maintain there's no evidence he saw the people going

4      through the window but I don't know if it converts it to a
5      restriction if he did.      It just means certain people there

6      were breaking the law that aren't Larry Brock.          Maybe that's

7      relevant to Count One when I get to it but it's not a
8      restricted area if that happens, but again, I absolutely

9      think the evidence supports an inference that he had no
10     opportunity to see those people and he was at that point

11     proceeding in an orderly manner through the door with many

12     others.
13                 THE COURT:    So let me go back to something that you

14     said earlier, that's sort of part of your theme that the

15     reason Mr. Brock went to the Capitol, I take it that this is
16     your theme that the reason why Mr. Brock went to the Capitol

17     was to support Congressional action to deny certification of
18     the election, right?

19                 MR. BURNHAM:    Yes.

20                 THE COURT:    So why did he go into the Capitol?       How
21     is that actually helping Congress to certify or not certify

22     the election?     How was his going into the Capitol and

23     wandering around in the Capitol helping Congress to do that?
24                 MR. BURNHAM:    As a show of support to the objecting

25     Senators and Congressmen.       I mean, that was the point of Stop



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1      the Steal in a way if, based on what we've seen in the
2      evidence is the Stop the Steal, the very name evokes the

3      intention to remedy fraud.       The President's remarks, to the

4      extent they've been in the record, very much are along with
5      that theme.    It was a show of political support for the

6      Congressmen and Senators who might be on the fence as to

7      whether to object or support objections.
8                  THE COURT:    That's true of attending the Stop the

9      Steal Rally, of marching to the Capitol, even demonstrating
10     in vast numbers around and outside the Capitol.           But why is

11     that true of entering and wandering through the Capitol

12     including going to all these closed areas in the Capitol?
13                 MR. BURNHAM:    Because --

14                 THE COURT:    Why is that supporting Congress?

15                 MR. BURNHAM:    I mean, I'll answer your question,
16     putting aside questions about was it smart, was it well

17     advised, what was he thinking.
18                 THE COURT:    We don't prosecute, have people

19     prosecuted and convicted of crime because they're not smart,

20     although there's an element of criminal stupidity sometimes,
21     but I'm not saying that's true here.

22                 MR. BURNHAM:    I mean a thousand times he should

23     have just turned around and left, however pure his
24     intentions, but I think it's only natural that if the object

25     of the protest centered on Congress, the demonstration, the



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1      protest, the show of support, it's only natural if the doors
2      are open, that some of the protest activity would take place

3      inside the building.      The captain testified that that's, to

4      the extent possible, consistent with security, that Congress
5      is not the NSA, it's supposed to be somewhere where

6      individuals can to a certain extent petition their elected

7      representatives, designated First Amendment areas right
8      there, it's not outlandish that the demonstration and the

9      show of support might take place inside the building.
10                 THE COURT:    So I take it that your argument is not

11     that there's evidence that supports the proposition that

12     Mr. Brock thought he had authority to enter the Capitol.
13     It's just that your argument is that it's the government's

14     burden to prove that he knew he didn't have authority.

15                 MR. BURNHAM:    That's right.     I mean, the record is
16     silent on, you know, his, exactly what he was thinking, the

17     Government's burden to prove his intent, the Government's
18     burden to prove the restrictions.        I think the reasonable

19     inferences about his behavior was that he was there to

20     support the President and he seems to have been engaged in
21     political activity inside the Capitol in absolutely the most

22     respectful manner he possibly could for reasons I'll get

23     into.   I think that's what we can say about his behavior.         As
24     to whether, you know, exactly what he thought about why there

25     weren't metal detectors or exactly why the door was left



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1      open, the record is silent on those, but the reasonable
2      inferences that can be drawn are that whatever he was

3      thinking, it wasn't wrongful, it wasn't corrupt, it wasn't,

4      I'm going against the police, it wasn't, I want to obstruct
5      and interfere with government business.         Those are really the

6      crucial questions, is there evidence that he had those bad

7      thoughts in his head that criminal offenses require.
8                  THE COURT:    It also requires to a certain extent a

9      belief that he wore what he wore in order to protect himself
10     against counter-demonstrators.        Right?

11                 MR. BURNHAM:    That's right.      And I hope that the

12     Government's witnesses who largely agreed with me on that --
13                 THE COURT:    No, no, didn't agree with you on why he

14     wore what he wore, they agreed with you on the fact that

15     there had been some clashes in other circumstances between --
16                 MR. BURNHAM:    That's right.

17                 THE COURT:    -- pro- and anti-Trump demonstrators.
18                 MR. BURNHAM:    I mean Sergeant Timberlake, for

19     example, agreed, okay, there's someone in a bike helmet,

20     there's someone in some other kind of helmet, several
21     witnesses agreed there had been such clashes where hard

22     objects were thrown.      It supports an inference that that

23     likely was why he was dressed in that manner.          Now if he was
24     jousting with police, well, maybe we could say, well, no, I

25     think he had that because he was ready to rumble, but the



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1      evidence is the opposite way.       So I think the best evidence
2      is it had been a rough year for protests and he wore personal

3      protective equipment appropriate to those risks.

4                  THE COURT:    I'll have to review the Facebook
5      communications to see whether they support the view that he

6      was going to be wearing this kind of gear only to protect

7      himself from counter-demonstrators.
8                  MR. BURNHAM:    One last thing on the entry video is,

9      we think the video, upon careful review, supports our
10     position but to the extent there's any doubt in your Honor's

11     mind about, well, maybe he saw that glass there, I think

12     maybe he, if you -- anything like that, it has to be
13     considered not only in the four corners of the video but in

14     light of the whole picture including the conduct I'm about to

15     evaluate once he gets into the building, that's the way I
16     look at it.

17                 And specifically what I'm referring to there is the
18     question is, I guess the Government's contention is he would

19     have had to have seen people going through the window and he

20     said, oh, I guess that means the building is restricted, but
21     you know what, I'm not only not going to pay any attention to

22     the guys going through the window, I'm just charging in

23     myself, no matter what.      And so the question that poses for
24     the court is, is that consistent or inconsistent with the

25     rest of his behavior in the building.         And really the first,



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1      the first opportunity that he would have had to manifest a
2      wrongful or contrary intention, corrupt intention, intention

3      to be against law enforcement restrictions or anything like

4      that was the situation in the hall with Officer Timberlake.
5      And we take a different view from the Government on that.

6      The Government presented it as inculpatory situation, we

7      think it's exculpatory for obvious reasons and one less
8      obvious.    The less obvious one is if you watch the video

9      again or you'll recall it, Mr. Brock wouldn't have been in a
10     position to see the initial confrontation, the assault, the

11     officer said he was hit in the back of the head.           And that

12     took place, as you can see in the video, by the door, you
13     know, 10 or 20 yards from the metal detector.          At the time

14     when Mr. Brock enters the scene, that confrontation has

15     already kind of stopped and the combatant, so to speak, not
16     Officer Timberlake but his colleague had moved down toward

17     the metal detector and when Mr. Brock comes in, it's from
18     another part of the Capitol and what, the first thing he sees

19     is the other officer whose name I forget with fists raised

20     and then he sees the guy wearing the weird uniform, he's got
21     his fists raised, and that's the first thing he sees.             So he

22     doesn't know what led up to it and he doesn't even really

23     know that the individual, the officer there was in fact an
24     officer.    They, your Honor recalls, they were wearing blazers

25     and slacks and I think the officer said he had on a tie and I



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1      didn't specifically ask him this but I didn't even see a
2      badge, at least not any kind of prominent badge.           So those

3      individuals, I guess you could say they probably weren't

4      demonstrators just based on their attire, maybe, who knows
5      but they could easily have been congressional staffers, some

6      kind of non-law enforcement security personnel, maybe even

7      politicians, based on what the video shows.          So at any rate
8      all we can show from the video is that some official-looking

9      person was squared off with a person that looked like he
10     probably was a protester, perhaps even one of the malefactors

11     in the crowd.     And Mr. Brock immediately, without even

12     thinking about it, comes in and defuses the situation, calms
13     them down, says that's not what we're here for, you know,

14     that's the way he reacted.       And if, and if -- that's

15     completely inconsistent with the Government's contention that
16     he saw people going through the windows and said, you know

17     what, I don't care, I'm charging in, you know, broken
18     windows, who cares?      It's totally inconsistent, and that's

19     just the first example.

20                 THE COURT:    I'm not so sure it's totally
21     inconsistent.     I think avoiding confrontation, physical

22     confrontations with the police, with law enforcement is

23     consistent with what the Facebook communications indicate was
24     part of his thinking and plan all along.         That those kinds of

25     confrontations and injuries to law enforcement would



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1      interfere with the IO war that he was trying to successfully
2      complete.    So trying to avoid, excuse me, physical

3      confrontation with law enforcement could be perfectly

4      consistent with his effort to enter the Capitol in order to
5      prevent Congress from certifying the election.          There's no

6      inconsistency there at all.

7                  MR. BURNHAM:    Well, I guess it depends on exactly
8      what interpretation one gives the Facebook messages, if we're

9      taking Exhibit 910 literally and he's there to take hostages
10     of Mitch McConnell, then he absolutely would have been.

11                 THE COURT:    I'm not saying that.      But just on the

12     IO, wouldn't you agree that part of his messaging in the
13     Facebook communications was, particularly in the

14     conversations with Beaf Supreame, was to avoid physical

15     confrontation and injury to law enforcement?
16                 MR. BURNHAM:    I think --

17                 THE COURT:    To have injuries to law enforcement
18     would interfere with and detract from their IO war.

19                 MR. BURNHAM:    Well, I think it was genuine but I

20     think that was a secondary purpose.        Certainly when he
21     explicitly says that this is an IO war, he says that later on

22     the floor of the Senate, that's right, but that's all the

23     more reason he wouldn't have approved of people charging
24     through broken windows.      That's, if anything, worse than

25     having words with a police officer.



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1                  THE COURT:    Well, that's not, that's not -- having
2      words is not the same as injuring the police officers.            But

3      having words leads to possible confrontation, but anyway,

4      we're probably digging too deeply into that.
5                  MR. BURNHAM:    Well, one final point because I think

6      it is a relevant question is if part of his mentality there

7      is I want to win the IO war, meaning I don't want Trump
8      supporters, patriots looking bad, he absolutely would not

9      have approved of people coming in through the window.             That
10     would be absolutely opposite of what winning the IO war would

11     be.   That's terrible and that's exactly how it's played out,

12     is those footages are now iconic of everything that was wrong
13     with January 6th.     And that's exactly what he explicitly

14     was -- any kind of property destruction, this is what he

15     specifically says on the balcony of the Senate, nobody breaks
16     anything, we're patriots, be respectful.         So all the evidence

17     is that, even taking IO war comments into account, that
18     breaking windows, going through windows was anything he would

19     have approved of.

20                 THE COURT:    All right.
21                 MR. BURNHAM:    Court's indulgence.

22                 THE COURT:    Certainly.

23                 MR. BURNHAM:    As to the -- as to the statement on
24     the floor of the Senate, the Government is presenting his

25     comments to the man in the chair as aggravating.           Maybe the



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1      quotes that they pulled out were sort of out of context from
2      that video.    The video speaks for itself.        The Government is,

3      you know, they're making their case and so they're casting

4      Mr. Brock's actions a certain way.        Instead of walking to the
5      Capitol, they say he's marching to the Capitol; instead of

6      walking around the Capitol, they say he's maneuvering around

7      the Capitol, that's their theme of their case.          But the full
8      quote of the Senate floor is, if I can, I think I can quote

9      it from memory at this point, is, get out of that chair,
10     that's not our chair, that belongs to the Vice President of

11     the United States.      I love you guys, we're brothers, but we

12     can't be disrespectful.      That was the full quote.       Not the
13     parts the Government pulled out.

14                 And I'll do a little digression here is that, Agent

15     Moore offered some testimony on this, is if there was anybody
16     that was gonna be in a bad odor that day with some segments

17     of the demonstrators, it was the Vice President Pence for
18     political reasons.      So if there was a time when any kind of

19     ill will towards politicians was gonna come out, it was going

20     to have to do with the Vice President, and you saw the
21     absolute opposite reaction from Mr. Brock.          We have to show

22     respect to the Vice President.        And I think your Honor asked

23     the exact right questions on the key issue.          I mean, if there
24     was a reason to believe that someone told him the Vice

25     President was in there, that would be a totally different



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1      case but that's not what we have.        It might have been a
2      boneheaded move to try to go in a locked door, but it's not

3      indicative of any particular purpose.         I mean it said U.S.

4      Senate, it didn't say secret office, didn't say hiding place
5      or anything.    It was an ill-advised thing for him to do.

6                  And so what is the role of law enforcement here?

7      If we can step back, it's a fact that can kind of get hidden
8      in all these videos that sort of have to be pieced together,

9      is based on my review of the evidence, from about 2:37 p.m.
10     which was the scene at the Rotunda door where there were

11     three officers there, till around 2:55, if you don't count

12     Sergeant Timberlake and his colleagues who were dressed in
13     plain clothes, even they -- I'll come back to that.           If you

14     don't count those gentlemen, Mr. Brock didn't encounter any

15     law enforcement at all for that entire time period.           And even
16     if, even if the supposition is maybe he would have known

17     Officer Timberlake and his colleagues were law enforcement,
18     the officer didn't testify to giving any particular

19     directives to Mr. Brock.       He didn't testify he said this is

20     an unlawful assembly, you guys need to get out or anything
21     like that.    So there was no law enforcement interaction for

22     almost 20 minutes, and the one possible exception to that

23     didn't involve any particular directives, and this is -- the
24     case is on 1752 and this is relevant to 1512 as well.             It's a

25     total game changer if an officer tells you you're not



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1      supposed to be here, get out, that would be a totally
2      different situation, and we don't have that.

3                  And the first significant law enforcement

4      interactions we have come towards the end, and there are two
5      of them, one of which has no sound, but actions, you know,

6      speak louder than words sometimes.        And what I'm referring to

7      is first there's the -- I think the Government presented in
8      the opposite way but I think this one comes first is there's

9      a video where Mr. Brock is walking down a long hallway and
10     there's probably about ten or a dozen members of the police

11     walking around.     He's got his flex cuffs and as came out in

12     questioning, he's not trying to hide them, he's not like
13     trying to, you know, put them in his jacket or anything, so

14     he walks by the police and at first police don't pay him any

15     mind at all, you can't even see a police officer even
16     noticing him.     He's not a police officer, that's obvious.          He

17     just walks right by and then ultimately an officer comes out
18     and you can't hear what he says but he seems to be giving

19     Mr. Brock directives.      You can see him moving and Mr. Brock

20     turns directions, goes back the other way.          So I think the
21     reasonable inference is that police officer said, no, you got

22     to go this way, probably to get out of the building.              And I

23     say that in part because of the final vignette when he does
24     exit just a few minutes later.

25                 But before I get to that I'll make a brief comment



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1      on the Officer Humphrey video which is around this time, I
2      think it's like one minute later, and that actually does have

3      sound because there's -- it's the body worn camera.           And so

4      there you see him walking down and, you know, he didn't
5      testify so this isn't presented great in the record, but

6      Agent Moore agreed certain aspects of the military can cause

7      hearing loss in older men, and aviation, I think our common
8      experience tells us that could be it.         So to the extent

9      that's in the record, that's something the court can think
10     about, but then even added to that is Mr. Brock's body

11     language there.     He's looking down, it looks like he's

12     looking at his phone, he never looks at the officers even
13     once and he continues walking down the hallway.           The officer

14     agreed he didn't run and I would suggest, I didn't even see a

15     change in pace after the officers called out to him.              You
16     know, it was a noisy situation in there, you can even hear

17     that a little bit in the body worn camera and the officer,
18     two of the officers start to go down the hall after him but

19     when they're still about 20, 30 feet away in my estimation,

20     they just stop and leave.
21                 So I don't think there's any inference there that

22     he was disregarding law enforcement, especially not for the

23     video just a couple minutes later has him exiting, seemingly
24     under the supervision of multiple law enforcement officers in

25     an orderly way.     And as I've already commented upon, he sort



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1      of calms down the guy that seems like he was, if at least not
2      physically interacting with law enforcement, not leaving and

3      he seemed like he was giving them some lip.          And Mr. Brock,

4      using his size, his command presence as has been commented
5      upon, pats that guy on the shoulder, turns him around and

6      they go out together peacefully.        This was before the

7      President told everybody to leave, this was before the
8      Electoral College result had been decided.          There's no

9      evidence that he had to be forced out, and so I think that
10     voluntary departure before the issue had been settled speaks

11     volumes, especially in connection with everything else about

12     his -- about his actual intent there that day combined with
13     everything else.

14                 So I keep repeating that all the evidence has to be

15     viewed together because I sound like a broken record perhaps
16     but I truly, strenuously contend that if you look at the arc

17     of the whole story, starting with the Facebook messages
18     through his whole conduct, his true intent emerges,

19     especially when you add in the one thing I haven't mentioned,

20     which is his personal -- his history and personal
21     characteristics.     Now we're not in a sentencing hearing, this

22     is a criminal case but 1512, Count One, has an elevated mens

23     rea from most other criminal offenses and we can understand
24     why that would be.      It criminalizes attempting to influence

25     official proceedings.      If there wasn't some kind of elevated



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1      mens rea, that would be an extremely problematic statute for
2      our civic life.     Mr. Brock had to know that his conduct was

3      corrupt, meaning wrongful.       So he doesn't have to know he was

4      violating 1512, but he had to have the specific intent to act
5      in a wrongful way and we submit that all the evidence shows

6      that, misguided though other people may think he was, he

7      absolutely believed that he was acting in an upright way in
8      accordance with the law and in accordance with patriotism,

9      out of respect for law enforcement.        And I absolutely think
10     it's appropriate for your Honor to take into account what's

11     come into evidence about his military record and ask, is it

12     the best view of the evidence, is there proof beyond a
13     reasonable doubt that this individual who, throughout the

14     late '80s, '90s, throughout the whole war on terror, through

15     multiple combat deployments, chose to serve this country in
16     defense of Democracy as he understood it in defense of our

17     institutions, he clearly took great pride in his service,
18     even to the point where he still had, even as a 50-year-old

19     man, the patch from his old unit there, I think that's highly

20     relevant and should be taken into account when asking the
21     question of, is this someone who was acting wrongfully, who

22     knowingly was doing the wrong thing.

23                 THE COURT:    To take it into account and lead to the
24     conclusion you wish me to reach does require that I also give

25     the Facebook communications the interpretation that you urge



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1      that I employ.
2                  MR. BURNHAM:    Yes, your Honor.

3                  THE COURT:    And not take many of them seriously.

4                  MR. BURNHAM:    Yes, your Honor.     I can only repeat
5      what I think is the most sensible view is look at the

6      Facebook communications and in light of, both on their face,

7      is this something that's kind of absurd, and is it consistent
8      or inconsistent with later conduct.        That's the way to

9      separate what's significant in the Facebook record from
10     what's not.

11                 THE COURT:    All right.    Anything else?

12                 MR. BURNHAM:    Thank you, no, that's all I have.
13     Thank you, your Honor.

14                 THE COURT:    Thank you, Mr. Burnham.

15     Ms. Ayers-Perez, I'll hear from you in rebuttal, briefly.
16                 MS. AYERS-PEREZ:     Thank you, your Honor.      In

17     response to a few of the points Mr. Burnham makes, the first
18     being about the restricted area and the grounds, once again,

19     we heard from Captain Patton what that looked like, and even

20     though people have gone through and of course breached that
21     perimeter in some areas, certainly bike racks on the ground,

22     snow fencing on the ground, signs on the ground as people

23     have gone past them are still there, but it's not in all
24     areas.   But what is really noting -- or that I've taken note

25     of about what Larry Brock is wearing on January 6th is that



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1      Mr. Burnham speaks about counter-protesters and Larry Brock
2      was at the Stop the Steal Rally and he was there and he had

3      bought his combat gear, his helmet, he bought the tactical

4      vest prior to coming up there, but he's not wearing the
5      helmet when he's at the Stop the Steal Rally, which is where

6      you would encounter counter-protesters such as, I believe

7      Mr. Burnham mentioned Antifa or Black Lives Matter mentioned
8      earlier.    He's not wearing his helmet and in fact when you

9      see the still shot in the video of him walking down
10     Constitution Avenue towards the Capitol, he's still not

11     wearing his helmet.      It's when he's next to the scaffolding

12     already on the Capitol, on the west side of the Capitol that
13     he's now put his helmet on.       And so that tactical gear, the

14     combat gear that he brought to Washington, D.C., he didn't

15     wear it to the protest, the helmet, he wears it to go inside
16     the Capitol building, which was his whole purpose for being

17     there that day.
18                 And Mr. Burnham mentions the defendant was

19     supporting Congress.      Well, Congress is trying to do a job

20     that day.    If the defendant is supporting Congress, Congress
21     has to stop because the defendant and others are entering

22     into the Capitol building illegally without any sort of

23     making sure there's any sort of security concerns or that
24     he's gone through any sort of security measures to get in.

25     Congress can't do their job which -- because the defendant is



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1      inside of there.     And if you're trying to help Congress,
2      you're not going to go into Congress in combat gear and think

3      that you're going to make a difference.         Larry Brock doesn't

4      actually think that.      He's on the Senate floor where the Vice
5      President should be conducting business and he knows that,

6      because, as we've seen in the video, he's telling people this

7      is the Vice President's chair right there.          He knows that the
8      Vice President is supposed to be there that day.

9                  And so much of Larry Brock's Facebook rhetoric,
10     much of which we see actually come to fruition on January 6th

11     when he says, I want to actively rebel, I'm going to buy this

12     combat gear, storm the castle.        What else could that mean on
13     January 6th other than go into the Capitol building which is

14     what he did?    All of that comes to fruition, the Facebook

15     post at 9:10, the one from the Christmas Eve where he's
16     talking about the list of what he wants to have happen is

17     supposed to take place if nothing happens on January 6th.          If
18     Congress certifies the vote on January 6th.          He was arrested

19     four days later afterwards.       We don't know what else he would

20     have done, but that message was not for what was going to
21     happen on January 6th, it says at the top, this is what

22     happens if Congress fails to act on January 6th.

23                 And you know, to Mr. Burnham's point, to not
24     understand that there's a restricted perimeter, he would have

25     had to miss all the signs, the snow fencing, the bike racks,



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1      had to have missed people going into windows, had to have
2      missed the broken door, had to have missed the broken glass

3      on the ground, had to have missed the fact that the entire

4      mob is with him, had to have missed the fact that he wasn't
5      going through security, it doesn't make sense.

6                  THE COURT:    And have to miss the police lines that

7      were holding the mob back.
8                  MS. AYERS-PEREZ:     Yes, and in one of the photos

9      taken from the defendant's phone in the 300 series and I can
10     give you the exact number, your Honor, I believe it's 315 --

11     yes, okay, 315, the defendant takes a photo on January 6th on

12     the west side of the Capitol near the Senate Wing Doors while
13     still outside the Capitol and there are two police officers

14     standing outside one of the doors in his photo.           He has the

15     photo right there on his phone and it shows officers standing
16     outside another door while he's still outside the Capitol and

17     hasn't entered yet.      So he would have had to miss the photo
18     that he took himself as well.       This was a clearly restricted

19     area that he went into, the building, he shouldn't have been

20     in there, there's sign after sign inside the building in the
21     sense that there's officers at the door, there are doors

22     broken, windows broken, there's Sergeant Timberlake being

23     assaulted by fellow rioters, and still he continues on and
24     continues on to the Senate floor.        And he only left after he

25     achieved his mission of going on the Senate floor, being



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1      there, walking around, looking at desks of what Senators have
2      on the Senate floor and paperwork that's there on the Senate

3      floor and it's only after all of that that he finally leaves

4      the Capitol building.
5                  And lastly, your Honor, Mr. Burnham mentioned that

6      Larry Brock had the most respectful manner he could when he

7      went into the Capitol and there on the Senate floor and I
8      would surmise that that's absolutely not true.          He broke into

9      the Capitol building, he went into -- onto the Senate floor,
10     and although he did tell people on the Senate floor to be

11     respectful, the fact that he was there, the actions that he

12     took to get there are not respectful at all to Congress, to
13     the Vice President, to this country, and to what he did.

14     That's all I have, your Honor.

15                 THE COURT:    All right.    Thank you.    Okay.   It's
16     4:00.   The one thing I would like to do before we adjourn for

17     the day -- we're going to come back tomorrow morning, I'm not
18     going to try to pack in resolution of the case here this

19     afternoon.    We'll reconvene tomorrow morning, but the one

20     thing I would like to do is I'd like to look at the evidence,
21     that video of the entire video that's in evidence of his

22     entry into the Capitol.      I don't want just the still shot or

23     a portion of it, I want to see the whole thing.
24                 MS. AYERS-PEREZ:     We can play it right now if you

25     want.



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1                  THE COURT:    That's what I want.      Yeah.
2                  MS. AYERS-PEREZ:     Okay.

3                  THE COURT:    Thank you.     I wasn't asking to take it

4      back there.    And refresh me, what exhibit number is it?
5      You're going to have to figure that out to pull it up.

6                  MS. AYERS-PEREZ:     It's 411.

7                  THE COURT:    411, okay, thank you.
8                        (Government's Exhibit 411 playing.)

9                  THE COURT:    All right, that's at 2:24:27.       Would
10     you also pull up the video of the actual breaking of the

11     windows.    There's another exhibit that covers those and I'd

12     like to see the time.
13                 MS. AYERS-PEREZ:     Your Honor, this is 401, and I'm

14     sorry, starting at 6 minutes 28 seconds.

15                       (Government's Exhibit 401 playing.)
16                 MS. AYERS-PEREZ:     Your Honor, this is the second.

17                 THE COURT:    This is after Mr. Brock's already in?
18                 MS. AYERS-PEREZ:     Correct, this is four minutes

19     later.

20                       (Government's Exhibit 401 playing.)
21                 THE COURT:    All right.     Okay.   Thank you.   We can

22     start at 10:00 if you'd rather start at 10:00, give

23     yourselves a little extra shuteye.        So let's be back at 10:00
24     and I think you'll be hearing from me at 10:00 tomorrow

25     morning rather than me hearing from you.          Thank you very much



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1      for the presentation.      You should make sure in checking with
2      Mr. Bradley with respect to all the exhibits that we have all

3      the exhibits straight and in the record so that we have a

4      complete record to consider.       And with that, I will see you
5      all in the morning.      Thank you.    Do you have the originals of

6      the stipulations?

7                  THE CLERK:    I think you have them.
8                  THE COURT:    I have them.    I'll hold them for now.

9                  THE CLERK:    Okay.
10                       (Court Adjourned, 4:09 p.m.)

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